         Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 1 of 84




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                              UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA


                                                            )
CORONAVIRUS REPORTER,                                       )   CAND Docket: 21-cv-   -YGR
CALID INC                                                   )
on behalf of themselves and all others similarly situated   )   CLASS ACTION COMPLAINT
                                                            )
                                      Plaintiffs,           )
                                                            )
vs.                                                         )
                                                            )   SHERMAN ACT ANTITRUST
APPLE INC.,                                                 )   COMPLAINT FOR DAMAGES
FEDERAL TRADE COMMISSION                                    )   AND INJUNCTIVE RELIEF
                                      Defendants.           )
                                                            )
                                                            )
                                                            )   DEMAND FOR JURY TRIAL
                                                            )
     Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 2 of 84




   PLAINTIFFS’ COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

                                I.      INTRODUCTION

1. This class action seeks to redress the injustices Apple committed to the developer base

   that the monopoly necessarily relies upon to exist. Documented herein are the anti-

   competitive business practices that have become the norm at Apple, and how they have

   harmed Coronavirus Reporter, CALID (CALendar IDentifier scheduling platform), and

   countless other class members that shall be identified in expedited discovery.

2. Two decades ago, the United States Department of Justice expended considerable

   resources to prosecute the Microsoft Corporation for alleged anti-competitive activity that

   amounted to bundling the Explorer web browser too prominently with the Windows

   operating system. Notably, Microsoft did not restrict each and every software developer

   from directly selling software to PC consumers. Microsoft did not require programmers

   to submit their applications for approval, in order to distribute software in a brick-and-

   mortar store. Microsoft did not reject 40,000 software applications per week, wasting

   millions of person-hours of labor. Microsoft did not demand an economically inefficient

   33% tax on all PC software. And Microsoft did not charge $99/year to every aspiring

   computer programmer, many of whom are students or entrepreneurs with no income or

   benefits, simply to access the Windows SDK. There seems to be little question that had

   Microsoft committed the above antitrust violations, public outrage would have ensued,

   the company would have been broken up, and likely, faced criminal charges.

3. Apple, by breathtaking comparison, has secured its position as the wealthiest company in

   the world by committing all of those enumerated crimes under the guise of popularity and

   commitment to quality. There can be little doubt that Tim Cook sought to compensate for
     Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 3 of 84




   the tragic loss of Steve Jobs – and his gift for innovation – by seeking reckless profits on

   the heels of the success that Apple enjoyed with the iPhone. This stealth transition

   occurred relatively quickly, over the last ten years.

4. Most consumers associate Apple with their past days of creative good, and hence, the

   company now operates as a stealth monopolist. To be sure, many consumers eagerly

   await opening or “unboxing” their new iPhone, not fully aware that this bundle of

   hardware and software would be even better if Apple ceased their greedy practices.

   Nonetheless, concerns over Big Tech are increasingly garnering public attention. This

   Court is well aware of the public interest in the Epic case over competing app stores. As

   remarked, scant is the evidence that Apple cares about its developers – surveys, R&D

   funds, focus groups, transparent development assistance programs, etc, don’t seem to

   exist at the magnitude one would expect. A reactionary “developer center” at Apple

   Campus is too little, too late. The simple fact is Apple treats developers like second class

   citizens. Developers who speak out face retaliation and even harassment by Apple in

   court (see FTC cause of action).

5. A recent academic law journal articles explain the difficulty thus far legal experts have

   encountered in defining Apple’s ecosystem within existing “pigeonholes” of anti-trust

   law. The US House of Representatives Subcommittee on Antitrust has issued

   recommendation that Sherman civil law be revised so as to prevent the motion practice

   Apple engages to stall these types of cases.

6. The “Executive Order on Promoting Competition in the American Economy” signed into

   law by President Biden last week specifically tasks the FTC to use its statutory

   rulemaking authority to address “unfair competition in Major internet marketplaces.” At
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 4 of 84




     last, the anticompetitive practices alleged by Plaintiffs for nearly a year have become the

     direct subject of a Presidential Executive order.

7.    During the last week of the Epic trial, various questions were raised by this Court as to

     the best marketplace definition to apply to Apple’s monopoly. If a leading litigation-

     prosecutor like Quinn Emmanuel struggles with the marketplace definitions of Sherman

     into the final days of trial, it is reasonable to be concerned that a small developer with

     independent counsel, as is the case here, faces an uphill battle trying to prosecute Apple’s

     violations of the law. For these reasons, including the new executive order, Plaintiffs seek

     the assistance of the Federal Trade Commission.

8. In consideration, this Complaint draws on the Sherman claim theory presented in Epic

     and Cameron, both familiar to this Court. Notably, this Complaint also elucidates a

     monopsony theory that Plaintiffs believe is the most far-reaching, and importantly,

     simplest claim theory to protect independent developers. To date, no claim theory against

     Apple has sufficiently protected free apps – which represent a large proportion of the

     iPhone software bundle ecosystem. By expanding the claim theory to include free apps,

     our monopsony-based theory of hardware & software bundling presents straightforward

     definitions of product interchangeability, lost cost & quality competition, and other

     Sherman elements. With this theory, it is easier to “pigeonhole” Apple’s conduct in terms

     of obvious civil and criminal antitrust liability.

9. The largest component of this class action is that of free apps that were denied

     distribution, or effectively denied through ranking suppression.

10. As the US House of Representatives Subcommittee on Antitrust recently exposed, Apple,

     when it suited them with Chinese developer Baidu, appointed two Apple employees to
     Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 5 of 84




   help them navigate the murky waters of the Apple App Store. The Plaintiffs in this case,

   however, weren’t so lucky to obtain such hand-holding– their thousands of person-hours

   of work were tossed away by Apple, with improper rejections that, according to the same

   US House report, even astonished many Apple employees.

11. This is a rapidly evolving legal matter. Apple has become the richest corporate entity in

   the world, thriving from 30% commissions and deeply curated – and restricted – trade

   outputs in the App Store that launched over a decade ago. Apple wants the public to

   believe it is all in the name of safety and consumer privacy. Recently, the New York

   Times asked Apple CEO Mr. Tim Cook for his statement regarding growing concerns

   over Apple’s unyielding power and absolute control over the App Store. His response –

   “somebody has to be in charge, why not Apple?” – certainly sounds more like the divine

   right of kings than a new age technology company.

12. Mr. Cook’s logic is deeply flawed. For over forty years, and still today, the Apple Mac

   ecosystem healthfully thrived without such policing. Mac users simply aren’t demanding

   that Apple police their computer software due to an imaginary flood of privacy violations

   and other ills. Interestingly, at their June WWDC Apple started to weave the narrative

   that the Mac is a dangerous platform, and that app control à la App Store must be

   implemented to protect the general public.

13. Representing a class of developers who directly suffer from Apple’s ever-expanding

   power grab is Coronavirus Reporter and CALID. Between these two case studies, counsel

   in the class action endeavors to represent the best interests of, and provide a voice to,

   other developers that have thus far been silenced.
     Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 6 of 84




14. In February 2020, the Coronavirus Reporter Plaintiff formed an emergency ad hoc group

   of health care and computer science experts to develop a smartphone application named

   “Coronavirus Reporter.” The COVID-19 pandemic was named on February 11, 2020.

   The first death in France on February 14 was followed by an outbreak in Italy, and the

   United States reported its first death on February 29. The Coronavirus Reporter app was

   completed on March 3, 2020, at which time there was not a single Coronavirus app on the

   Apple iOS App Store. While some debate existed, most of the United States population,

   government scientists, and healthcare experts did not predict the rapid extent to which

   COVID would spread nationally and globally. Within a month, the United States led the

   world in confirmed cases, social distancing became a familiar term, and millions lost

   their jobs.

15. The Coronavirus Reporter application (“the app”) was developed to capture and obtain

   critical biostatistical and epidemiological data as it happened. For the first time in the

   history of pandemics, social media could provide new insights of an entire population

   that simply could not be obtained from traditional doctor office visits and other screening

   methods. The app’s operation was a simple and familiar “geolocation” map where users

   would self-identify disease symptoms such as cough, fever, or other yet to be discovered

   symptoms.

16. In response to the emerging crisis, on March 3 2020, the same day the app was complete,

   Apple announced that applications dealing with coronavirus would only be allowed from

   “recognized institutions such as government, hospital, insurance company, NGO, or a

   university.” The app was rejected on these grounds. On appeal, the development team

   requested that Apple expand the rule to allow corporations other than insurance
     Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 7 of 84




   companies, such as biotechnology or bioinformatics firms. Apple agreed, and added

   “deeply credentialed” health care corporations to the list of permissible entities. Apple

   was then provided with supporting and sponsorship documentation, including the

   curriculum vitae of Coronavirus Reporter’s Chief Medical Officer, Robert Roberts M.D.,

   FRCPC, FRSM, FACP, FESC, FAHA, FISHR, MACC, LLD (Hon.), FRSC. Dr Roberts

   invented the MBCK assay, the gold-standard test for detecting myocardial infarction (i.e.

   heart attack) used for three decades and regarded as one of the most effective screening

   tools in medical history. The MBCK test vastly reduced MI associated morbidity and

   mortality; in other words, Dr Roberts’ invention saved a very large number of lives.

17. As NASA Head Cardiologist during the Space Race, Dr Roberts personally signed off on

   John Glenn’s historic mission. Dr Roberts spent five years as a Board Director for the

   Nobel prize in mathematics, the Fields Medal.

18. After a very long twenty days of waiting, Apple issued a final command that the

   Coronavirus Reporter app would not be permitted on the App Store. Apple made the

   appalling determination that Coronavirus Reporter lacked “deeply rooted medical

   credentials.” Apple also stated that the “user-generated data has not been vetted for

   accuracy by a reputable source.” In other words, Apple told Dr. Roberts that he, and his

   self-reported symptoms app model, were not “deeply rooted” in the world of medical

   credentials.

19. About one month after rejecting the app, Apple permitted several employees at a London

   teaching hospital to distribute a COVID app on the App Store that functioned nearly

   identically to Coronavirus Reporter. That competing app obtained the so-called first

   mover advantage, and is currently used by five million individuals daily.
     Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 8 of 84




20. In the following months, Apple formed a partnership with their chief rival and several

   other universities to create a contact-tracing COVID app. After much delay, the contact-

   tracing App launched in Summer 2020. Although contact tracing has worked in some

   limited scope, much resistance in this country exists. The Apple contact tracing app

   generally underperformed expectations and failed to obtain a user base in the United

   States. Nonetheless, research by a Turing/Oxford team into the epidemiological impact of

   the app suggests the UK version of the app has prevented 600,000 coronavirus cases

   since it was launched.

21. Coronavirus Reporter was ready months before other world-class COVID app products,

   and would likewise have prevented deaths in the US and other countries where the

   NHS/Apple app did not succeed. Deaths would have been prevented through both the

   informal contact tracing geolocation functionality, as well as “situational awareness”

   offered by the app that does not exist in the UK/Apple app. Apple’s denial of the

   Coronavirus Reporter app resulted in unnecessary deaths.

22. The Sherman Act prohibits monopolization of any part of the trade or commerce among

   several States, or with foreign nations. Likewise, the Sherman Act prohibits every

   contract or conspiracy in restraint of trade among several States, or with foreign nations.

23. The internet was developed by DARPA, a research and development division of the

   United States Department of Defense. ARPANET was the first packet switched

   distributed TCP/IP network, the backbone foundation of what we today call the internet.

   This military research endeavor aimed to provide resilient data transmission

   infrastructure linking persons around the country and the globe. Considerable taxpayer

   dollars funded DARPA, and continue to fund urban and rural infrastructure rollout of
     Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 9 of 84




   TCP/IP (internet) data services through fiber optics, wireless spectrum allocations, and

   other ongoing network infrastructure deployments.

24. The COVID pandemic serves as a prime example of how ARPANET and its subsequent

   implementations is particularly well-suited for communication during a national

   emergency.

25. As ARPANET and the internet developed over time, many of its characteristic distributed

   networking features have become compromised by the growth of corporate entities that

   control vast access points. Of particular concern is that unfettered growth of a

   monopolistic trust, as defined by the Sherman Act, could seriously restrict interstate

   commerce, and the free exchange of information. A computer scientist who writes

   software applications that rely upon a free and open internet may be encumbered, should

   one of these monopolistic trusts destroy access to the internet’s free markets and

   information exchanges.

26. Defendant Apple Inc. did just that, denying millions of citizens the benefit of

   communicating in a pandemic emergency using an app designed by a world renowned

   physician. Indeed, that physician had particular experience in dealing with novel medical

   situations as exemplified by the fact that he personally gave astronauts the green light to

   explore unchartered territory.

27. Nearly 60% of users and 80% of paid internet commerce access the national internet

   backbone using Apple devices, in what we refer to as smartphone enhanced internet

   information and commerce. For many millions of these users, their de facto access to the

   internet relies upon using an iOS device. Consider, for example, children or elderly who

   have been taught to access the internet using a relative’s Apple device and have
    Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 10 of 84




   absolutely no reasonable alternative. As such, Apple operates a de facto monopoly for

   access to the national internet communication backbone.

28. Apple has restricted trade, communication, and free information exchange, all in

   violation of the Sherman Act, when it disallowed Plaintiff’s reasonable application.

                                     CLAIM THEORY OVERVIEW

29. Plaintiffs and their counsel have worked tirelessly to analyze the various claim theories

   currently under litigation against Apple, and have structured the “smartphone enhanced

   internet commerce and information access device” abstraction. Using the definitions

   identified in the following diagram, it becomes evident how the Sherman marketplace

   definitions apply to the iPhone ecosystem:
      Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 11 of 84




30.

                        Smartphone Enhanced Internet Information
                           and Commerce Device Marketplace
                                                                                                 Interchangeable
                                                                                                     Devices
                                                                                             Apple iPhone Ecosystem
                                                                                               (Represents 80% of
                                                                                                 US smartphone
                                                                                                    commerce)
                              Amalgamation of Hardware
                                                                                             Microsoft Phone (obsolete)
                                 (Camera, GPS, etc)                                            Blackberry (obsolete)
                                                                                             Android (20% US Market)



          Consumers purchase hardware                    Bundle of Software Apps

          and software bundle from Apple                 (Free, Paid, Apple Brand)




                                                                                     A smartphone is an ecosystem
                                                                                       of hardware AND software
                           Monopsony Theory for iPhone
             The iPhone exists within the marketplace for smartphones.
            •Apple bundles its own apps with the iPhone, e.g. FaceTime.
                      •Apple bundles free apps with the iPhone,
                  usually purchased at a price of $0 from developer.
                 Developer rewarded with advertising stream revenue.
          •Apple bundles (at IAP price) 3rd Party paid apps, e.g. MS Word.
                    Apple conveys 66.6% commission to 3rd Party.
               Anti-Competitive App Distribution (Sherman Violation)
       •Apple buys some free apps at substantial prices(e.g. weather prediction).
                •Apple disallows or ranking suppresses competitor apps.
              •Apple assists some developers (e.g. Chinese Government),
                         blacklists others (Class Action Plaintiffs)
                         •Apple retains 33% off all paid app IAPs.
                    •Developer and consumer are at a full disconnect-
               only way to get an iPhone app is "bundled" with the iPhone,
                                  i.e. approved by Apple.
      A disallowed or suppressed app is underpaid by the Apple monopsony
     Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 12 of 84




31. In this schematic, free apps are represented just like their paid counterparts. The

   marketplace here is the smartphone internet access device, and reasonable

   interchangeability is easily achieved by noting the existence of Windows Phone,

   Blackberry, and Android. Apple controls nearly 80% of the commerce transactions that

   occur over this device group. In this model, Apple sells to the consumer a bundle of

   hardware and software. The consumer is unaware of the existence of developers, if they

   aren’t approved and promoted by Apple. The merchant of record for all iPhone app

   purchases is indeed Apple. Counsels’ review of other pending antitrust claims in this

   Court, and others nationally, neglect to formulate Sherman definitions that equally apply

   to free apps – a major component of the ecosystem and a significant source of lost

   “person-years” of work.

32. After applying these definitions, we then proceed to specification of the institutional App

   marketplace:
      Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 13 of 84




                   Smartphone Enhanced Internet Application
                OEM Software Marketplace (App Distribution Rights)




                     Distributors buy apps, like film studios buy movie rights.


                                     Severely constrained marketplace

                                                 Low stated volume
                                               High theoretical volume

                                                                                                  Interchangeable
                                Largely Theoretical Marketplace                                     Applications
                                                                                              Apple iPhone Applications
                Venture Capitalists & Private Equity firms routinely purchase apps             amount to 80% of USA
         at the OEM/institutional/wholesale level. Their only effective "exit" is placement          smartphone
                          on the Apple App Store or Google Play Store.                             software sales.
                                                                                              Microsoft Phone (obsolete)
          Apple does not recognize this as a legitimate market in their DPLA agreement.         Blackberry (obsolete)
            Nonetheless, Apple monopsony "buys" millions of apps at a price of zero.          Android versions may exist
              Apple does occasionally acknowledge institutional purchase of apps.                  (20% US Market)




          Anticompetitive App Marketplace Dominated by Apple
         •Apple buys most free apps at a price of $0 from developer.
           Developer rewarded with advertising stream assignment.
               •Apple buys 3rd Party paid apps, e.g. MS Word.
                 Price paid equals volume * 66.6% * IAP price
                  •Apple occasionally purchases free apps for
              own-brand portfolio. Dark Sky weather app bought
                 for undisclosed sum, removed from Android.
       •Apple frequently copies apps (i.e. Flashlight) eliminating rivals.
•Preferred partners (China Baidu, Stanford, etc) offered valuable chaperoning.
              •Apple adds SDK functions permitting new classes
                     of apps , favoring own (Tile / AirTag).
  •Cronyism by App Store employees obtains kick-backs from friends' apps.
                Not officially sanctioned by Apple shareholders
                •Rejects 40,000 apps a week; developers work
             millions of person-hours for no pay or benefits.
           Competition would vastly increase app quality & developer fairness
          Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 14 of 84




    33. Apple, of course, does not acknowledge this marketplace in their DPLA agreements. The

         company has spent a decade writing consumer and developer “agreements” which use

         wholly different terms, shield Apple of vast liability from third-party apps, while

         simultaneously collecting the bulk of profits. The DPLA and App Store employ language

         that a free app is “For Sale” or “Available” through the App Store, after gaining

         “approval” by Apple for “adherence to iOS standards.” Herein lies the confusion, thus

         far, with other claim theories. In fact, developers do not sell apps. The only marketplace,

         the only seller of apps, is Apple itself. Understanding this key fact makes the rest of the

         antitrust theory flow logically. If Apple is the only seller of apps, just like they sell a

         proprietary bundle of hardware (GPS, camera, accelerometers, battery, screen, etc), then

         we understand that Apple is a monopsony buyer of apps. The vast majority of apps are

         purchased through coercion for a zero-dollar ($0) price from Apple. In other words, vast

         amounts of labor – millions of person years of developers – compete to sell their apps for

         free to Apple1.

    34. The reward is an assignment of advertising identifier code to the developer. This is a

         wholly separate marketplace from the purchase of the app, and thus far, has confounded

         legal theorists from correctly defining Apple’s monopsony, with respect to free apps.

    35. Apple might claim they never purchase apps, because their DPLA agreement doesn’t use

         this terminology. Again, Plaintiffs assert the DPLA is a legally void, monopolistic

         contract, in large part because it uses false terms and definitions to purport the existence

         of an “independent, voluntary developer” base. The reality is, developers are told how to

1
  The actual terms of an app sale from an independent developer to Apple are rather complex. Apple receives a
license to distribute a particular version of an app’s source code, in a bundle that is free to purchasers of the iOS
ecosystem. It would appear patents, trademarks, advertising assignments and other intellectual property are retained
by the developer. Expert opinions on the true nature of these transactions – which almost certainly differ from
Apple’s terms specified in the DPLA – will be forthcoming in discovery.
     Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 15 of 84




   run their business, and labor to sell their apps for free to Apple – hence increasing the

   value of the Apple ecosystem at their expense.

36. It should also be noted that Apple does purchase apps for non-zero prices, and routinely

   so. In the above diagram, it is noted the Dark Sky weather prediction app was purchased

   by Apple at an undisclosed price estimated between $100million and $1billion to bring

   the app to Apple’s ecosystem, and exclude it from Android. Apple also finances the

   development of apps to assist other countries (Chinese government Baidu) and other

   “partners” it feel deserve direct reimbursement for helping improve the iPhone.

37. In short, our theory says Apple sells the “iPhone” as a bundle of software and hardware.

   This results in a disturbance to both the enhanced smartphone device marketplace, and

   equally, the institutional app distribution marketplace. Both of these markets will be

   referred to interchangeably throughout this Complaint. In these markets, Apple controls

   all the software, and there are no “independent” developer-vendors. By using crafty

   DPLA agreements, henchmen law firms, and other political lobbying tactics, Apple has

   thus far pulled off what is the greatest business model in history – albeit an illegal one

   under Sherman.

                                         VENUE



38. Venue in the California District is proper under 15 U.S.C. § 22, which states that any suit

   proceeding under antitrust laws against a corporation may be brought in any district

   where it transacts business. Apple transacts business in California. Apple’s developer

   agreement assigns venue to CAND, and this case was transferred to this Court at Apple’s
    Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 16 of 84




   request from the New Hampshire district. The forum selection clause is itself subject to

   Sherman analysis.

39. This Court has subject matter jurisdiction, pursuant to the Class Action Fairness Act of

   2005, 28 U.S.C. 1332 (d), because the proposed classes consist of 100 or more members,

   the amount in controversy exceeds $5,000,000, and at least one member of the class of

   plaintiffs is a citizen of a state different from Defendant Apple, a California corporation.

   Jurisdiction in this Court for a permanent injunction arises under 28 U.S.C. § 1331, for

   federal questions presented pursuant to 15 U.S.C. § 26 (Clayton Antitrust Act). Diversity

   jurisdiction is invoked pursuant to 28 U.S.C. § 1332 because the parties reside in different

   districts and the amount in controversy exceeds $75,000.

40. The Administrative Procedure Act, 5 U.S.C. § 702, grants jurisdiction to this District

   Court for matters pertaining to the Federal Trade Commission.

                                     II.     PARTIES

41. Plaintiff Coronavirus Reporter is a Wyoming Corporation with officers based in New

   Hampshire, Vermont, and Upstate NY. Coronavirus Reporter is also the name of the

   Plaintiff’s iOS application, which uses the national internet background to allow citizens

   to self-report and geolocate emerging pandemic trends. As such, it belonged to the entire

   group of “COVID startups” banned by Apple. Plaintiff asserts standing as both a

   corporation, and additionally as the collective individual persons comprising the

   corporation, who have no contractual relationship with the Defendant and never signed

   the Apple Developer Agreement. Dr Roberts never signed any waiver or contract with

   Apple pertaining to the distribution and access to his medical scientific work product.
    Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 17 of 84




42. CALID is a Wyoming corporation that was founded to develop the CALID iOS App.

   CALID is an abbreviation for CALendar IDentifier. The CALID platform allows

   scheduling of any entity – ranging from an expert for videoconferencing, to a house for

   rent. Apple denied the CALID app originally because it sought to use credit card

   payments for the rentals, which have a 2% transaction fee. Apple demanded CALID use

   their IAP system, which has a 33% inefficient transaction fee. CALID was forced to

   abandon work on the platform because of these inefficiencies. CALID paid nearly a

   decade of $99 developer fees, to participate in the Apple ecosystem. CALID was subject

   to ranking suppression. Despite offering a sophisticated platform for free, the app was

   typically invisible on App Store searches.

43. Defendant Apple Inc. is a California corporation with its principal place of business in

   Cupertino. Apple is the largest public company in the world, with a current market

   capitalization of approximately $3 trillion. Apple designs, markets, and sells smartphones

   (the iPhone) and computers (the Mac), which functionally rely upon and profit

   immensely from access to the taxpayer-funded national internet backbone. Apple owns

   and operates the App Store, which serves as a distribution gateway to the national

   internet backbone for third-party developers. Pending related litigation against Apple

   alleges that Apple violates antitrust law by disallowing competing app stores designed by

   third parties. Notably, this lawsuit does not seek remedy in the form of additional “app

   stores,” rather it seeks an injunction preventing the Apple App Store from disallowing

   applications of reasonable intention, of adequately functionality, and of legal subject

   matter. It proposes doing so through the due process afforded by an independent App

   Court, the first law enforcement body of its kind devoted solely to computer code and
     Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 18 of 84




   applications, search rankings, and even IAP payment processor fairness. In other words,

   the Apple App Store violates antitrust law by disallowing third-party applications using

   arbitrary and capricious standards meant to camouflage Apple’s own self-interest and

   growth of their monopolistic trust.

44. Apple has shown ill-will towards Plaintiff Coronavirus Reporter which resulted in at least

   five news articles being published this year quoting Apple’s false pleading remarks that

   this present action was filed with “disregard for the law.” Plaintiff, who sought to save

   lives with its app, and whose medical director has saved countless lives with the MBCK

   invention, had and has full regard for the law in bringing this Complaint.

45. Defendant Federal Trade Commission (“FTC”) is an agency of the United States

   government. FTC Headquarters is located at 600 Pennsylvania Avenue NW, Washington,

   DC, 20580. FTC’s mission is “Protecting consumers and competition by preventing

   anticompetitive, deceptive, and unfair business practices through law enforcement,

   advocacy, and education without unduly burdening legitimate business activity.”



                               III.      FACTUAL HISTORY

46. Introductory paragraphs preceding this paragraph are asserted herein and responsive

   pleading is hereby noticed as necessary.

47. Apple operates the App Store, and has exclusive control over iOS applications and their

   ability to access that national internet backbone.

48. The national TCP/IP internet backbone was built, at least in part, using taxpayer dollars

   for ARPANET.

49. Apple has profited immensely from the existence of the national internet backbone.
     Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 19 of 84




50. Without the internet, and the taxpayer dollars that built it, Apple would not enjoy the $2

   trillion valuation it has amassed.

51. The Apple smartphone ecosystem is primarily a graphical user interface software (iOS)

   and hardware configuration, connecting users to the national internet backbone.

52. Apple initially developed the App Store to serve as a quality control gateway, ensuring

   apps functioned to a satisfactory standard and didn’t contain software bugs or illegal

   content.

53. Over the years, Apple has taken a more authoritarian approach to the App Store and has

   rejected and/or disallowed significant numbers of third-party applications.

                                  Emerging Antitrust Proceedings

54. Antitrust regulation of Big Tech is a rapidly emerging matter of global public interest.

55. The global population rapidly adopted smartphone internet connectivity over the past

   decade. This has lead to vast implications which we are in the very early stages of fully

   understanding.

56. Nonetheless, it is reasonable to state that a sizeable proportion of the US population has

   growing questions and concern over the hegemony of Big Tech, including the types of

   claims here brought by Plaintiffs and the class members.

57. There are at least several emerging antitrust proceedings of particular relevance to this

   case. These include:

   - The “Investigation of Competition in Digital Markets” majority staff report and

   recommendation by the United States House of Representatives Subcommittee on

   Antitrust, herein referred to as the “House report.” The facts uncovered by the House

   report applicable to Apple (Exhibit B) are hereby wholly incorporated herein.
 Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 20 of 84




- A European Commission investigation into the App Store, launched in June 2020.

(“The EC investigation”).

- A consumer class action antitrust lawsuit filed in 2011 alleging App Store violations of

Sherman in the app aftermarket (i.e. Kodak downstream theory). This lawsuit was

incorrectly dismissed by a Northern California judge, only to be remanded eight years

later by the Supreme Court. Pepper v. Apple Inc, 11-cv-6714-YGR. The Pepper

complaint and findings of fact relevant to and supporting this case are hereby

incorporated herein.

- A developer class action antitrust lawsuit filed in 2019 alleging App store violations of

Sherman in the app aftermarket, or submarkets. Cameron et al v, Apple, 19-cv-3074-

YGR. The Cameron class is restricted to app developers who sold apps for non-zero

prices. Supporting evidence and facts of the Cameron complaint are incorporated herein.

- An app distributor lawsuit for Sherman violations was filed in 2020 in Northern

California, Saurikit (aka Cydia) v. Apple, 20-cv-8733-YGR. Cydia alleges it was the first

to implement an app store on the iPhone ecosystem, and has been improperly booted

from the market by Apple. Cydia seeks injunctive relief to require Apple to allow

competing App Stores. Likewise, Epic v. Apple, 20-cv-5640-YGR seeks such relief to

permit the games developer to open competing app games stores. Epic is a multinational

entertainment company that has invested in substantial work with the Cravath law firm to

discover Apple’s anti-competitive conduct. Their discovery is expected to be useful to

support our class members claims.      Epic has invested a substantial amount of time

discovering anti-competitive tactics Apple has used to lock consumers into their platform.

This information is directly relevant to Plaintiffs’ more expansive claims. By building
    Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 21 of 84




   upon the findings of Cravath (Exhibit C), Plaintiffs’ counsel may devote its resources

   almost entirely to a new branch of discovery: identifying and assisting countless

   developers, even small developers of free apps, who have been subjected to anti-

   competitive practices by Apple. Counsel intends to focus discovery on exposing these

   stories of developers who have suffered devastation from improperly denied or

   suppressed apps, representing thousands of lost person-years of advanced programming

   work.

                                          House Report



58. The “Investigation of Competition in Digital Markets” majority staff report and

   recommendation by the United States House of Representatives Subcommittee on

   Antitrust provides compelling support and evidence supporting the Plaintiffs and class

   members claims. The report asserts that Apple’s control over iOS provides it with

   gatekeeper power over software distribution on iOS devices. The report declares Apple

   has “monopoly power over distribution of software applications on iOS devices.” The

   report quotes Apple executives as stating that Apple is “not subject to any meaningful

   competitive constraint” in this channel. This results in “supra-normal” profits according

   to the report.

59. Apple makes $2.7 billion annually simply from charging developers $99 to access their

   platform. This fee is more than quadruple the fee of the nearest rival, and has directly

   harmed Plaintiffs and class members.
    Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 22 of 84




60. The report explains how eliminating IAP tying could be done by allowing other payment

   processors like PayPal, VISA, etc. to service the market. This tying has directly harmed a

   large subgroup of Plaintiffs and class members.

61. Apple benefits immensely from a ranking system that favors their own rival apps,

   according to the report. Some searches reveal “14 Apple apps before showing results

   from rivals.” The report documents that Apple “holds [competitor apps] to a different

   standard” than its own apps, which is precisely what happened to Plaintiff Coronavirus

   Reporter, and other class members. Such ranking unfairness has directly harmed

   Plaintiffs and class members.

62. Described is Apple’s history of “closely monitoring the success of apps in the App Store,

   only to copy the most successful.” Apple “takes other companies innovative features,”

   which was the case with Coronavirus Reporter and other Plaintiffs. In sum, Plaintiffs and

   class members have experienced such anti-competitive behavior as described in the

   report.

63. The House report has an entire section devoted to Apple’s “excluding rival apps.” A

   well-known case of Apple’s exclusion of parental control and Screen Time apps is

   described. One developer is mentioned who invested almost $250,000 in a parental

   control app, only to be told by Apple that this category of apps is disallowed. This

   pretextual, self-serving exclusion is directly analogous to Apple’s exclusion of all

   startups from contributing to the COVID effort. Many class members of suffered the

   same fate, resulting in thousands of person-years and tens of billions of dollars of

   damages.
    Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 23 of 84




64. The report describes how apple has “absolute discretion” in approving apps, resulting in

   “complete tyranny.” Just as Plaintiffs have asserted their heartbreaking experiences being

   lied to by junior Apple app store reviewers, the House Report goes even further. It says

   “different reviewers” interpret same apps “differently” with “intentionally…vague”

   guidelines that consist of “moving goal posts” and “unwritten rules.” The report describes

   the frequent delays of weeks or months (which Coronavirus Reporter experienced) as

   “insufferable.”

65. The Subcommittee exposed reports that Apple appointed two App Store employees to

   navigate the waters for Chinese firm Baidu, effectively giving them preferential

   treatment. Described is CEO Mr. Tim Cook’s denial of preferential treatment, followed

   by seemingly incontrovertible evidence the Subcommittee uncovered that indeed Mr.

   Cook did seek to favor the Chinese firm. As noted, Coronavirus Reporter and other

   Plaintiffs never received such hand-holding for their critically important apps.

66. The Subcommittee findings re Apple’s anti-competitive behavior are hereby asserted by

   Plaintiffs and class members.

                          Lead Plaintiff – Coronavirus Reporter Facts

67. At the time Plaintiff Coronavirus Reporter submitted their app to the App Store, there

   were zero coronavirus-specific apps on the United States App Store. A keyword search

   for COVID or Coronavirus yielded no results.

68. Their nimble team allowed them to create the first COVID app by a world renowned

   researcher, and what would have been the first COVID app on the App Store. The team

   included NASA’s former Head Cardiologist, as well as a front-line Emergency Room

   physician and a Dartmouth trained computer scientist who personally developed apps
    Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 24 of 84




   used by half a billion users. Dr Roberts had full and final authority over all functionality

   of the medical app, as Chief Medical Officer of Coronavirus Reporter. In short,

   Coronavirus Reporter was developed by a world-class medical team with specific area

   expertise necessary and appropriate to combine health care epidemiology research with

   large-scale data operations. This combined expertise would allow this startup COVID

   app to be first-to-market.

69. The Coronavirus Reporter app was developed in February 2020. The app team, and the

   application they developed, was a reasonable application, and, most importantly, was

   ready for deployment when COVID was just arriving in the United States. The

   Coronavirus Reporter app, had it been allowed, would have provided useful

   bioinformatics data, and provided a medium for free information exchange among United

   States citizens and COVID patients.

70. As such, functionality and early availability of Coronavirus Reporter would in all

   likelihood have prevented substantial morbidity and mortality. Expert analysis will be

   presented at jury trial showing that Apple’s refusal of Plaintiff’s app caused no less than

   two-thousand deaths in the United States.

71. The app provided both informal location contact tracing, and pandemic situational

   awareness. This was implemented using a familiar and intuitive geolocation screen to

   report symptoms and view nearby outbreaks.
    Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 25 of 84




72. Little was known about COVID symptoms at the time, and the app was meant to develop

   with nimbleness and plasticity as situations emerged. In other words, the same skills

   Coronavirus Reporter employed to have the first COVID app, would allow for many

   future-improved versions that could advance epidemiological study of the pandemic.
    Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 26 of 84




73. The app sought user reported symptoms and COVID related questionnaire items. The

   public demanded this information that simply wasn’t yet available from mainstream

   medical institutions. In other words, a social media/crowdsourced app provided a useful

   tool for pandemic situational awareness.
    Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 27 of 84




74. Apple rejected Coronavirus Reporter on March 6, 2020, knowing apps from large

   institutions and strategic partners were in the pipeline but not yet ready. Apple

   specifically strategized to prevent the Coronavirus Reporter app, and all COVID startup

   firms, from setting a precedent or amassing a user base, which could jeopardize its own
     Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 28 of 84




   pipeline and/or the first-mover advantage of desirable institutional partners of a

   monopolistic trust.

75. In the weeks following the initial rejection, with knowledge of Coronavirus Reporter’s

   correspondence, Apple broadened the App Store requirements for a COVID app from

   insurance companies to any healthcare company with deep-rooted credentials. In other

   words, Apple barred startups from helping with the COVID pandemic, favoring large

   institutions.

76. Medical history is plentiful with examples of startups that revolutionized medicine. In his

   CNBC interview, Dr Roberts cited that “Penicillin was invented by a startup, it was a two

   person effort. Thankfully Apple wasn’t in a position to block the invention of penicillin.”

77. Despite expanding the App Store guidelines to any healthcare company, Defendant Apple

   denied the appeal and permanently disallowed the app on March 26, 2020. Apple internal

   discussions with its own partners, at the time, were already discussing their own

   proprietary COVID app. Apple was also looking to form partnerships with other leading

   institutions to develop COVID apps, that would further cement Apple’s own

   monopolistic trust and medial endeavors. Apple’s CEO Tim Cook has widely stated that

   healthcare is a major focus in Apple’s strategic growth. On January 9 th, 2019, Mr. Cook

   stated that Apple’s “greatest contribution to mankind” will be Apple health care products.

   Blocking well established medical leaders from contributing to a pandemic raises serious

   questions that within the scope of antitrust law that shall be elucidated in this complaint.

78. Apple’s twenty-day delay in assessing Dr Roberts’ deep credentials suggests they

   struggled internally with the matter. Ultimately, Apple decided it would rather selectively
     Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 29 of 84




   choose apps that fit its own goals, even if that meant forbidding a world renowned doctor

   from distributing his scientific work product.

79. We assert this is the first time in history a corporation was able to prevent a Professor of

   Medicine and award winning inventor, who had saved countless lives through his MBCK

   discovery, from contributing to an emergency pandemic history.

80. Indeed, Apple did knowingly and willfully prevent the inventor of MBCK from

   publishing a COVID app.

81. Defendant Apple knowing and willfully prevented Dr Roberts, inventor of a heart attack

   test used by millions, from assisting internet users during the early days of the pandemic.

   They knew, or should have known, that curtailing such expert assistance could have

   caused increased incidence and mortality due to COVID-19.

82. Indeed, blocking all startups from assisting with COVID app development likely cost

   lives. The flagrant Sherman Act violation seriously, dangerously, and recklessly

   constrained competition – here , much needed medical innovation.

83. Apple’s willful denial of Dr Roberts’ medical app, and other startup COVID apps, was

   directly assented to by key Apple leadership, including Mr. Cook and/or one of his

   delegates. These leaders willfully blocked an app that would have saved lives, according

   to their own research in conjunction with Oxford(see below).In doing so, Apple

   disregarded long-established medical social norms to an extent that was breathtaking.

84. Apple’s App Review Board did not possess anyone with better COVID insight or

   credentials Coronavirus Reporter’s Chief Medical Officer, though Apple acted as if they

   did have some sort of superior knowledge.
     Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 30 of 84




85. Said Chief Medical Officer created work-product, the app, that could have benefitted

   millions. Apple used arbitrary and capricious standards to prevent that benefit from being

   made reality.

86. Apple is a monopoly as defined by the Sherman Antitrust Act.

87. Apple has the ability to, and has in the past, restrained legally permissible, reasonable

   internet trade when it blocked Coronavirus Reporter and CALID, and many other

   COVID startup apps.

88. Apple possesses vast userbase studies. Consumer willingness to pay and ability to pay

   studies have been a focus of Apple, Inc. Included in these studies, are evidence of the

   barriers and difficulties their users would face in accessing the internet without their

   Apple device. For example, a user who purchased a $1000 iPhone on a financing plan

   may not have the financial means to access the internet with an alternate device. Apple

   has substantial investments in cost-analysis literally tracking every penny its users does

   and can spend. From these vast economic studies, Apple knows it holds monopoly like

   power over many users’ ability to exit the Apple ecosystem and access the internet

   through other means. Apple should produce all such economic data, under FRCP

   discovery rules, should they purport no such monopolistic controls exist.

89. Plaintiffs are startups that have no income stream, because of Defendant’s illegal actions.

   Apple, on the other hand, is the world’s largest corporate entity and has appointed a law

   firm to represent this case where the average partner brings in over $4 million a year in

   revenue. To assist in the enforcement of the Sherman Act, we have requested help from

   the United States Attorney for the prosecution of Apple’s anticompetitive behavior.
    Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 31 of 84




   Likewise, Plaintiffs are in the process of initiating European Commission complaints that

   may interact with this case progression.

90. In June 2020 Apple publicized that, in light of complaints from developers of unfair

   rules, they would be allowing developers to challenge the App Store rules. Previously,

   Apple said developers could only challenge the factual findings of an app review, within

   the rules guidelines. But in fact, Apple had allowed Plaintiff Coronavirus Reporter to

   challenge the rules as it did in March 2020. Nonetheless, the rules change did not benefit

   the company, as Apple still found an arbitrary and/or capricious interpretation of the new

   rules.

91. In short, Apple’s “self-policing” of its monopolistic Developer Agreement was a sham. It

   had no tangible, real impact on Apple’s stronghold of the App Store and free and open

   internet access. See https://www.cnbc.com/2020/06/22/apple-will-provide-a-way-for-app-

   makers-to-challenge-app-store-rules.html

92. Defendant Apple stated the reason for denial was that a) Coronavirus Reporter was not a

   recognized healthcare entity, and b) the “user-generated data wasn’t vetted by a reputable

   source.”

93. In so doing, Apple was saying that citizens shouldn’t be allowed to post on a private

   application their symptoms of COVID, and that Dr. Roberts’ app model was

   inappropriate.

94. In so doing, Apple was infringing upon the right of Coronavirus Reporter, as well as

   ordinary citizens and COVID patients to engage in free, unrestricted commerce and

   information exchange on the internet.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 32 of 84




95. Defendant Apple allowed at least two competing COVID apps from large institutions

   approximately three months after Coronavirus Reporter’s app was ready. This caused

   Coronavirus Reporter to lose the valuable first-mover advantage of an internet app.

96. Apple allowed a similar British app from Guy’s St Thomas’ hospital to enter the App

   Store. Although it was sponsored by an institution, the app was primarily the work-

   product of several individuals, as was the Coronavirus Reporter app. This app quickly

   achieved millions of users a day. Had Coronavirus Reporter been rightfully approved, the

   app would have received a significant share of the volume that went to competitor apps.

97. In a second example of their breathtaking arbitrary standards, Apple did approve a

   fledgling Florida startup’s COVID app. As the House Report determined, often Apple

   interprets its own guidelines incorrectly or inconsistently. As other app teams have

   experienced, often cronyism takes place where Apple allows their own friends and app

   teams known to them to violate their own guidelines, which appears to be what happened

   in this case of a startup being permitted to launch a COVID app with a Chief Medical

   Officer that did not possess the qualifications of Dr Roberts. That startup did not have a

   large-scale data computer scientist from Dartmouth, as did Coronavirus Reporter, which

   had written apps that served hundreds of millions users.

98. Allowing the aforementioned competing apps, but disallowing Coronavirus Reporter, and

   most all other COVID startups was intentional, flagrant restraint of trade.

99. Apple’s contact-tracing app was developed in conjunction with another large technology

   company.

100.       Apple and that company, combined, effectively provide internet access to the

   entire United States population.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 33 of 84




101.        By disallowing Coronavirus Reporter and partnering with a rival to provide a

   COVID app that ultimately failed its objectives, Defendant Apple’s monopolistic

   practices caused a permanent loss of valuable epidemiological bioinformatics data. This

   loss spanned some three months, the time during which no competing apps existed in the

   US marketplace. Valuable epidemiological data was forever lost during that duration.

102.        Access to the national internet backbone is theoretically possible without using

   Apple or Google products, such as with a generic UNIX web browser.

103.        In practicality, many individuals, especially elderly and children, only learn how

   to access the internet using a friend or relative’s Apple device. Additionally, GPS

   location data does not typically exist on a generic web browser. As such, economically

   efficient geolocation of symptoms was only possible using either Apple’s smartphone, or

   its rival.

104.        Native apps are favored by customers by almost 90% over web browser apps.

   Native apps provide more functionality, which would be helpful with a Covid app. As

   such, “smartphone enhanced internet commerce and information flow” requires access to

   the app SDK, rather than mere web browser experience.

105.        As such, Apple is a de facto monopoly of access to the national internet backbone,

   or at least, the smartphone enhanced functional internet backbone. The collective network

   of hundreds of millions of smartphone devices – including their sophisticated sensors – is

   simply not Apple’s property. It is the property of the users, the general public, and should

   exist as a “common carrier” free from Apple’s control.

106.        There exists tens of millions of individuals in the United States who do not know

   how to access the internet without using an iOS device.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 34 of 84




107.       These individuals rely upon access to the internet to perform critical commerce

   activity, engage in protected free speech, and obtain lifesaving medical advice and

   treatments.

108.       A third-party developer such as Coronavirus Reporter and CALID, seeking to

   help facilitate those above enumerated activities, is required to sign Apple’s Developer

   Agreement and ask permission from Apple to distribute their application.

109.       There was no reasonable grounds for Apple to deny the Coronavirus Reporter

   app, and all other COVID startups for public distribution. This represented damage to an

   entire market of COVID startups – not directed damage to one company.

110.       Apple has an App Review Board that decides which apps it will permit on the

   App Store.

111.       The App Review Board has denied substantial numbers of legitimate, reasonable

   applications, representing thousands of man-years of work and labor, collectively.

112.       Plaintiffs have identified nearly a dozen other apps to be presented at trial, each

   with a unique story to tell. A common thread is that each app was denied, either in

   outright fashion, or via ranking suppression, on the basis of pretextual excuses by Apple.

113.       These pretextual excuses are exemplified in the House report, as well as academic

   papers such as the Yale SOM Thurman Arnold Project’s Digital Platform Series on “The

   Antitrust Case Against Apple” (Kotapati et al, May 2020) which is hereby incorporated.

   The Yale SOM paper documents the pretextual excuses Apple used to block rival apps.

114.       Plaintiffs’ apps have faced nearly identical experiences to that documented by the

   House report and Kotapati et al.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 35 of 84




115.       One such app created an edutainment financial technology application which

   required absolutely no money or risk from the users. Apple barred the app for creating

   too much financial risk to users, and other plainly vague, false pretenses.

116.       Another app innovated an information research tool and ranked highly on the app

   store. Apple suppressed its rankings and replaced it with an Israeli app that functioned

   nearly identically. Apple then attempted to ban this app, citing, like the aforementioned

   Screen Time case, vague, unsubstantiated privacy concerns. Apple favored a crony in

   Israel, upon information and belief, when it replaced this highly ranked with a copycat.

117.       Other apps, including CALID, were platform marketplaces for telemedicine.

   CALID was rejected because it used outside payment processors to charge doctors 2%

   commissions on consultations. Apple forced the developer to use IAP, and hence, a 30%

   commission. Doctors using the platform would receive less than two-thirds of their

   billing amount. The developer’s platform was rendered useless by this excessive

   economic rent.

118.       Plaintiffs, the app team individuals, have personally witnessed the inappropriate

   rejection of multiple apps representing substantial person-years of labor, and asserts

   claims herein for all illegally restrained marketplace violations. The exact number of

   man-years illegally wasted by Apple, possibly hundreds of thousands, will be sought

   under early FRCP discovery rules.

119.       All of the aforementioned examples restricted output, quality, and innovation in

   the downstream App market for smartphone users. We expect many more stories to

   emerge as Plaintiffs’ first discovery request to Defendant Apple will be a list of every

   rejected app team and supporting documentation.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 36 of 84




120.       When the App Review Board denies an app, they assign this to a junior staff

   member who must make the unpleasant call to a developer team to inform them that their

   team’s work of months or years is being denied access to the global internet backbone.

121.       These are often difficult conversations that understandably cause distress for both

   parties. Upon information and belief, Apple’s junior App Review Board employees (who

   are only known to the developers on an informal first name basis) suffer considerable

   psychological distress from repeatedly shooting down the dreams, and years of work-

   product of the app developers.

122.       In short, Apple has junior App Store employees do their “dirty work” of

   unreasonably disallowing perfectly legal and legitimate apps that meet all standards and

   requirements.

123.       The apps are, in fact, disallowed to foster Apple’s monopolistic goals, rather than

   to protect the public from low-quality or illegal applications. Upon information and

   belief, Apple routinely employs cronyism when it allows one developer’s app, but

   disallows similar apps from other developers. This is particularly evident and distressing

   to the aforementioned junior App Reviewers, who are aware they are misleading and/or

   lying to the other developers.

124.       This well-known issue within the company is one reason Apple is aware that

   antitrust laws will, at some point, challenge the status quo. On February 22, 2021,

   Apple’s CEO Tim Cook notified Apple Shareholders that antitrust compliance is a future

   risk to Apple’s profits. Included in the memorandum is new language: “The Audit

   Committee and Board regularly review and discuss with management Apple’s antitrust

   risks. Apple’s Antitrust Compliance Officer is responsible for the development, review,
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 37 of 84




   and execution of Apple’s Antitrust Compliance Program and regularly reports to the

   Audit Committee. These reports cover, among other matters, the alignment of the

   program with Apple’s potential antitrust risks, and the effectiveness of the program’s

   design in detecting and preventing antitrust issues and promoting compliance with laws

   and Apple policies.”

125.       Discovery will demonstrate that Apple is aware of numerous instances, such as

   Coronavirus Reporter, where they violated antitrust law by disallowing reasonable use of

   their devices and App Store, restraining interstate commerce.

126.       Historically, most internet applications were free and open-sourced, under the

   MIT/GNU software licensing paradigm. In the past decade, Defendant Apple has

   drastically changed the free, open internet to one of massive, trust-like corporate profits

   and control.

127.       Apple has internal records that document numerous examples of how their market

   control, technology, and/or restrictive policies have willingly and unwillingly damaged

   smaller entities and individuals. Under FRCP, these records shall be produced by Apple.

128.       As of the time of filing, state governments and multiple friendly foreign

   governments (Australia, Canada) have announced legislation meant to prevent Big Tech

   companies like Apple from abusing their monopoly powers. As discovery will show,

   Apple is aware of numerous yet-announced government inquiries and preliminary

   legislation meant to address the type of wrongs Apple inflicted on Plaintiff.

129.       “Executive Order on Promoting Competition in the American Economy” was

   signed into law by President Biden on July 9, 2021. In this order, the FTC is specifically
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 38 of 84




   tasked to use its statutory rulemaking authority to address “unfair competition in Major

   internet marketplaces.”

130.       In other words, the anticompetitive practices alleged by Plaintiffs for nearly a year

   have just recently become the subject of a Presidential Executive order.

131.       Apple enjoys, nonetheless, an esteemed position in society which is reflected in

   its $3trillion valuation. Antitrust Law, in theory, seeks to balance the cost to society of

   regulating a top performing, well admired company’s value while assisting smaller

   companies harmed by the monopoly. In abstract terms, a sliding scale exists where

   antitrust enforcement saving thousands of companies the size of Plaintiff is weighed

   against the losses incurred by regulating a monopoly (Apple). In practicality, properly

   effected Antitrust regulation vastly benefits society by rescuing the value of smaller

   companies while allowing the monopoly to continue a legal value creation path. There

   exists no reason in theory why Apple could not also benefit from ceasing to engage in the

   anti-competitive acts describe herein, further increasing its value. For example, Apple

   could implement Plaintiffs’ suggestion of an independent App Court for due process, and

   forego their divine right of kings approach. They might even profit as more developers

   innovate, and consumers are better able to enjoy their smartphone investment. Therefore,

   injunctive action to protect small entities does not, in theory, necessitate a zero-sum

   scenario at Apple’s expense.

132.       At the very least, this plausible theory is part of an ongoing national (and global)

   discussion.

133.       By definition, this theory and underlying claims of this lawsuit are not frivolous.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 39 of 84




134.         Apple falsely asserted these claims and stories of real loss by countless developers

   were frivolous in a recent pleading. Apple blamed Plaintiffs and counsel for filing a

   complaint that bordered on “disregard for the law.” As evidenced by President Biden’s

   recent order, Plaintiffs had it right, and had a right, to bring these claims, which became

   the subject of an executive order.

135.         Apple has not made any effort to retract their false statements, despite being

   notified to do so. Apple has replaced counsel from one firm with Gibson Dunn, which is

   believed to be in part due to prior counsel’s false and/or oppressive pleadings. Plaintiff’s

   reserve the right to discover within attorney-client communications to shed light on this

   matter.

136.         Dr Roberts was interviewed by CNBC on January 28th, 2021 about Apple’s

   refusal to publish his Coronavirus Reporter. His statements in that interview are asserted

   as true to the best of his knowledge and belief. In summary, he stated:

                1. The app was designed to be a large-scale, supervised epidemiological

                     study, the first of its kind in such an historic pandemic.

                2.   He invented the MBCK gold standard screening test for heart attacks,

                     used for over three decades. Thus he had particular experience to

                     supervise such an immense screening effort.

                3. He was “taken aback,” in his own words, when Apple announced they

                     were refusing his app for lack of deep-rooted medical credentials.

                4. Dr Roberts discovered numerous heart attack genes, was CEO of a major

                     Heart Institute, personally signed off on John Glenn’s space flight,

                     authored medical textbooks, and directed the Nobel prize committee for
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 40 of 84




                  mathematics. In his words, if Apple said he lacked “deep rooted”

                  credentials for a COVID app, who was safe from Apple?

              5. To the extent Apple attempts to portray a startup as distinct from his own

                  credentials, Roberts dismissed that with a historical perspective. Penicillin

                  was invented by a “startup” with deep-rooted medical credentials, as were

                  many of the most important inventions since the Industrial Revolution. In

                  short, for Apple to claim an institution has some unique ability to

                  contribute to medical science, that an individual startup lacks, is not

                  historically accurate.

              6. Roberts asserted that society lost from Apple’s refusal, in that critical

                  epidemiological data was forever lost.

              7. Roberts brainstormed that the app might have helped him elucidate long

                  term cardiac complications of COVID.

              8. Roberts stated that, though he is not a lawyer, he doesn’t feel Apple

                  should be allowed to do what they did.

137.       Plaintiffs and their attorney hereby represent no less than half a dozen Sherman

   Act violations at the App Store, to be investigated during discovery and presented at trial.

   Plaintiffs and their counsel seek expedited and prompt discovery of Apple

   “developer.apple.com” systems to identify other developers who have been victim to

   such wrongs by Apple, including app ranking suppression, inappropriate app

   disallowments, retaliations, excessive rent fees, and being subjected to false statements

   and harassment by the App Review team.

                                           Claim Theory
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 41 of 84




138.       The introduction to this Complaint presented an overview of the unique aspects of

   Plaintiff’s claim theory. Most other claim theories advancing in this Court relate to the

   so-called “single brand theory” or “Kodak downstream theory.”

139.       These claims have survived 12(b)(6) motions in this Court. For that reason, and to

   protect all potential class members, we assert these single-brand theories below, in

   addition to our smartphone enhanced bundle monopsony theory and related institutional

   app marketplace. Hence, approximately nine pages of this 83 page complaint

   intentionally incorporate claim theories by other cases pending in this Court. Some of

   these other cases may be subject to expired statutes of limitations that do not exist in

   Plaintiffs’ case, and hence, incorporation of these claims preserves the collective effort of

   remedying Apple’s concerning business practices.

140.       Apple has filed to dismiss our single-brand claims of ours in other venues,

   arguing that theory is “strongly disfavored.” Indeed, many brands, clearly not

   monopolists, could have such a claim wrongly brought under that theory. However, we

   feel in the case where Apple’s single brand controls 80% of internet commerce, and

   where some SCOTUS Justices have said “common carrier law” of smartphones is

   “inevitable,” pleading single-brand market theories is reasonable and should survive

   dispository motions. Nonetheless, we assert that our monopsony theory is easier to apply

   and results in better enforcement of antitrust laws. For the foregoing reasons, we now

   outline all of the claim theories used in our causes of actions, some of which are new or

   substantially modified, some of which are already familiar to this Court and indeed stem

   from its dockets.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 42 of 84




   Apple is a monopolist in the market for iOS app and payment processing (IAP)

   distribution services.

141.       The Market



142.       Apple possesses monopoly power in the domestic and global market for iOS app

   distribution, and in the market/aftermarket for iOS app payment processing. Customers

   for each include app developers and consumers using iOS devices, and they exist as

   aftermarkets to iOS devices.

143.       In designing iOS and the iPhone, Apple was faced with a problem that previously

   plagued its desktop and laptop computers throughout the 1980s and 1990s. In that era,

   Apple took an almost entirely proprietary approach to its hardware and software. That

   approach, however, severely limited the scope of Apple’s software offerings and put it at

   a decided competitive disadvantage against others, such as Microsoft and OEMs that

   used the Windows operating system, who took a much more open approach to software.

   Apple thus carved out only a very small, niche market share during that era, and in fact

   almost went bankrupt as a result. Indeed, it was not until Apple relented and stopped

   trying to prevent third party developers from operating in its software application markets

   that its fortunes turned around.

144.       Guided by this historical and popularity or newly emerging app markets, Apple

   realized soon after introducing the iPhone that it needed to offer at least the appearance of

   broad choice of software to use on its new smartphone. This was particularly so because

   other companies—notably, Google, Microsoft, and Blackberry—were developing their

   own smartphones and had a more open history regarding third parties’ ability to create
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 43 of 84




   and sell applications for their respective platforms. Apple therefore, as discussed above,

   introduced the App Store in July 2008 and thereafter actively tried to encourage the

   appearance of a robust market for iOS apps. Touting the choice and breadth of apps the

   App Store presumably enabled, Apple has consistently used the availability of third-party

   applications to fuel the demand for the iPhone and its iOS operating system. Indeed,

   Apple promoted the iPhone by heavily advertising third party applications and stating,

   “there’s an app for that.”

145.       Apple’s efforts have succeeded to drive demand for its iOS devices, including the

   iPhone, in competition with devices running other operating systems. In the U.S. alone,

   consumers own nearly 200 million iPhones. All of those devices run only iOS

   applications.

146.       High switching costs prevent users from switching from one operating system to

   another operating system after they initially purchase a mobile device. These switching

   costs increase over time for a variety of reasons, including, among other things, the cost

   of the mobile device; the user’s familiarity with the operating system and unwillingness

   to learn a different operating system; the user’s familiarity with apps on that operating

   system; the users’ costs sunk into purchased applications that are not compatible with

   other operating systems, which is amplified by the restrictions on the App Store and the

   inability of App Store developers to communicate freely with their users; and the costs of

   hardware purchased to support the mobile devices utilizing that operating system.

   Moreover, switching costs for mobile devices—particularly for iOS devices, due to

   Apple’s typically extreme practices—have increased dramatically in recent years with the

   advent of cloud computing.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 44 of 84




147.       These high switching costs, which are not readily apparent to the vast majority of

   iPhone users before they purchase their devices, were nevertheless apparent to Apple

   early on. This led it to realize that it could make enormous additional profits if it exerted

   complete control over the various aftermarkets into which iPhone users were locked once

   they purchased their device.

148.       Users who want apps on their iOS devices must download those applications from

   Apple’s iOS App Store app. By technological design and contractual restraint, Apple

   does not allow other third party services to distribute iOS apps. Furthermore, Apple has

   designed iOS in such a way that no iOS app distributor is available or largely even

   useable on iOS devices. In this way, Apple is significantly different than other

   companies. For example, in the Android operating system, Android users can download

   Android applications from multiple application marketplaces—including Google’s Play

   Store, Amazon’s Appstore, and Samsung’s Galaxy Store. Apple takes multiple, active

   steps to prevent anything similar for iOS devices.

149.       App developers, who are also customers in the iOS app distribution market—

   because the app distributor(s) offer a service and product that facilitates locating, selling,

   and installing the developer’s app—face a similar reality. The existence of other mobile

   device operating systems is meaningless to developers who program apps and in-app

   products for use on iOS devices, because it does not change the markets into which those

   apps are sold and developers cannot take a one-size-fits-all approach to app development.

150.       A move away from the iOS system would mean that a developer could no longer

   offer its iOS apps or in-app products to hundreds of millions of consumers, and the

   developer would have no substitute available, because it could not sell its iOS app into a
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 45 of 84




   different market for mobile apps, such as for the Android or Windows operating systems.

   Notably, Apple admits that it shuts out all competition from app distribution to iOS

   device consumers, ostensibly to protect its device customers from bad apps and malware.

   But herein lies a recurrent theme of pretextual excuses at Apple. Apple’s smartphone

   competitors explicitly permit competing app distribution services, which shows that

   Apple’s actions and justifications to the contrary are pretense.

151.       Apple also permits third party app distribution to its macOS-compatible devices.

   The Mac is a part of a safe, longstanding computer ecosystem that has tens of millions of

   loyal users. Bad apps and malware never plagued the Mac ecosystem, despite their open

   app distribution framework. Brick and Mortar distribution outlets, and even web-based

   distribution outlets have never resulted in significant safety or quality issues, at least not

   so much as to deter one from using the Mac ecosystem. Apple’s double-standard cannot

   be more evident, when one compares the Mac and the iOS ecosystems.

152.       In a broader definition, the market is the entire interstate, smartphone enhanced

   commerce and information flow transacted via the national internet backbone.

   Smartphone enhancements currently include altimeters, barometers, gyroscopes, cameras,

   fingerprint sensors, GPS, microphones, EKG readers, pulse oximeters, and even

   potentially blood sugar monitors. Consumers essentially purchase a bundle of sensors

   from Apple, with an operating system (iOS) that creates an intuitive interface that

   connects these sensors to the national internet backbone. Consumers have an expectation,

   and a right, to benefit from the network effects (i.e. critical mass and/or economy-of-

   scales) of interacting with fellow smartphone users throughout the country. Such

   interaction is not possible through a web browser alone. These sensors require
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 46 of 84




   sophisticated API and SDKs not accessible though bare-bones TCP/IP internet protocols.

   In other words, Apple’s iOS is the toolkit that allows consumers to benefit from the

   hardware they paid for.

153.       In the case of Coronavirus Reporter, restricting these enhanced health sensors that

   consumers paid for, or blocking them from a research cardiologist such as Dr Roberts, is

   particularly unsettling. Apple exclusively controls approximately 65% of the smartphone

   enhanced interstate communicate pathways, as defined in this market. Plaintiffs reserve

   the right to apply either of the aforementioned market definitions interchangeably, as

   appropriate for different apps and different claim scenarios.

   Alternatively, Apple is an attempted monopolist in the domestic and overseas

   market for iOS app and IAP distribution services.

154.       Alternatively, for the foregoing reasons, Apple is an attempted monopolist in the

   market for iOS app and IAP distribution services. Given that the facts alleged amply

   support a finding that Apple has always maintained monopoly status in this U.S. market,

   a fortiori they support a finding that Apple is attempting to monopolize the distribution-

   services market by improper means.

155.       In our broader market definition of smartphone-enhanced internet backbone

   control, Apple’s threshold of approximately 60% is sufficient to sustain an attempted

   monopolization theory.

   Alternatively, Apple behaves as a monopsonist retailer, or attempted monopsonist

   retailer, of iOS apps and related digital products.

156.       Alternatively, by requiring that it be the sole retailer of iOS developers’ digital

   products, Apple acts as a monopsonist, or attempted monopsonist. A monopsonist is a
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 47 of 84




   buy-side monopoly. The circumstances and effects are essentially the same as with

   monopoly or attempted monopoly: by Apple’s behavior as alleged herein, Apple uses its

   monopsony power as the sole retailer-distributor for iOS apps and IAP to pay iOS

   developers below the price they would obtain in a competitive market for their products.

   The effect is the same as if Apple, in a wholesale-retail model, had depressed wholesale

   prices by way of its anti-competitive market power and behavior.

157.       Here price may be the app cost itself, the IAP price, or the net proceeds relayed to

   the developer from sponsorships, partnerships, advertising revenue, and/or brand

   goodwill. Apple’s own apps generate sponsorships, partnerships, advertising revenue and

   goodwill for Apple. Ad revenues, in particular, have a limited supply: there is a finite

   number of ad time each iOS user can view each day. By restricting competition for its

   own apps and those of its monopsony cronies, strategic, and otherwise chosen partners,

   Apple illegally diverts profits away from the developer apps.

   Apple’s practices with respect to the App Store further restrain and injure

   competition in the U.S. market for iOS app and in-app-product distribution

   services, where already there are high barriers to entry.

158.       Apple’s unlawful practices in aid of establishing and maintaining its monopoly

   restrain and injure competition in the domestic market for iOS app and in-app-product

   distribution services, where already there are high barriers to entry. Even were it not for

   Apple shutting out competitors by design, market-participant hopefuls would still need

   the resources to build and maintain the app store client for iOS devices, to program and

   maintain the requisite software and algorithms going forward, to advertise the client and

   the steps needed to install it, among other barriers. The European Commission has
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 48 of 84




   concluded that there are high barriers to entering the market for app distribution via app

   stores.

   Apple’s unlawful practices harm competition, developers, and consumers of apps

   and in-app products, too.

159.         Apple’s monopolistic practices in the U.S. market for iOS app and in-app-product

   distribution services harm competition by depressing the output of distribution

   transactions. Additionally, these practices harm iOS device consumers by robbing them

   of innovation and choice. Apple’s distribution charges are so high that undoubtedly they

   keep developers out of the App Store; why develop an app or platform that will be have

   economically inefficient rents? Developers are arbitrarily blocked from developing apps,

   under constantly changing, arbitrary guidelines that often exempt Apple’s cronies.

   Likewise, these practices harm consumers owning iOS mobile devices because they rob

   them of more other apps that might be truly useful, fun, or innovative. Apple’s minimum

   price harms consumers, as a developer cannot offer an app for $0.49, for example.

   Additionally, the fact that apps are not discoverable due poor organization of the iOS app

   store hurts developers and buyers of iOS apps and in-app products as well.

   Unquestionably, Apple’s anti-competitive mandate that it be the sole provider of

   distribution services, and that it run the lone iOS app store, hurts competition greatly.

   Apple harms consumers and competition by depressing output.

160.         Evidence shows that consumers of app-store products are quite price sensitive.

   Apple’s high transaction fees, and the existence of minimal fees, inhibit sales of products

   sold via the App Store. Thus, distribution transactions are inhibited as well. In other

   words, Apple’s fees depress output.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 49 of 84




   Apple’s behavior stifles innovation.

161.       Apple’s abusive monopoly also stifles innovation in apps—another way it hurts

   competition generally. Other vibrant app stores would mean more places for featuring

   apps. With so many apps available on the market, massive volumes of product can and

   does get lost in the App Store. Consumers, as well as developers and competition

   generally, would benefit from other venues that would surface good, new product and

   encourage the development of yet more and better apps— all of which would engender

   more output in the market here at issue.

   Apple harms developers by denying them the opportunity to choose other means to

   get paid for their work.

162.       Apple’s aggressive, anti-competitive behavior diminishes the choice offered by

   endeavors that compensate developers of free apps through other means, such as ad

   revenue and sponsorships. Cameron et al(Exhibit B) explains in detail the failure of

   Amazon Underground, a free app marketplace, which stemmed from Apple’s anti-

   competitive practices.

163.       Plaintiffs were damaged through lost opportunities to get paid for their work.

   Plaintiffs created apps of substantial value, but were paid a price of zero by Apple – in

   the cases of disallowment or ranking suppression. As a monopsonist, Apple had full say

   in setting this zero price, which stifled innovation and excluded rivals. Alternatively, as a

   monopolist, Apple underpaid developers by 30% and excluded rivals. In the case of

   Coronavirus Reporter, either monopoly or monopsony theory applies in that prices were

   artificially manipulated by Apple, Apple benefitted through their own apps, and the

   consumer lost. For example, Coronavirus Reporter may have offered a free app,
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 50 of 84




   sponsored through partnership with Pfizer or Moderna for vaccine information. For users

   who wanted a truly independent app only representing Dr. Roberts medical expertise, a

   minimal $0.49 might have been offered. However, Apple sets a minimum price tag of

   $0.99, which is too high to charge someone for a pandemic relief app. Downstream

   benefits to app publishers include brand goodwill, partnerships (e.g. vaccine producers,

   physician networks), and potentially ad revenue. Apple’s own apps benefit from these,

   especially brand goodwill. As a monopsonist buyer, when Apple blocked an app like

   Coronavirus Reporter, it effectively paid the developer zero, reaping the brand goodwill

   and finite ad revenue for its own rival apps. As a monopolist distributer, Apple held a

   30% excessive rent, charged developers $99 unnecessarily, and excluded competition –

   here, all startup COVID apps. These are illustrative examples only, but suggest likely and

   common scenarios that applied to all Plaintiffs and class members.

   Apple harms consumers of its distribution services by way of supra-competitive

   pricing and other pricing mandates.

164.       There is no good, pro-competitive, or otherwise justified reason for Apple’s 30%

   transaction rate, which it has maintained since the opening of its App Store. Rather, this

   unnatural price stability, under the circumstances alleged herein, is a sure sign of Apple’s

   unlawful acquisition of monopoly power and the abuse of that market power.

   Nor do the facts and circumstances of app and in-app product distribution give rise to any

   pro-competitive justification for Apple’s contractual terms requiring $.99 minimum

   pricing for paid apps and in-app products, or its end-in-$.99 pricing mandate. These, too,

   are abuses of Apple’s improperly obtained monopoly power.

   Apple has admitted that the Plaintiff class has standing in this lawsuit.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 51 of 84




165.       Apple admits that iOS apps are distributed solely through its App Store.

   Ostensibly, this is so that it can review them “for malware and similar issues,” though

   this is certainly something other distributors could do.

166.        According to Apple, “[d]evelopers are the ones who purchase distribution [from

   it], not consumers.”

167.       As between consumers of apps and in-app products vs. consumers of its app and

   in- app-product distribution services, Apple admits that distributors have antitrust

   standing. In briefing to the Ninth Circuit, Apple has stated: “The software developers

   who are directly impacted by Apple’s 30% commission absolutely would have antitrust

   standing to bring a monopolization case, if they wanted to . . . .” “App developers have

   standing under Illinois Brick to argue whatever they want because they are direct

   purchasers of distribution services from Apple, and if they want to argue, for example,

   that their consent [to Apple’s fees] was coerced by Apple’s market power, they can.”

   With respect to Illinois Brick issues, “[a]pp developers are the ones who have antitrust

   standing to bring any claim about Apple’s ‘monopolization’ of Apps distribution.”

168.        Similarly, in briefing to the U.S. Supreme Court, Apple has stated: “The

   developer is also the first person to bear the alleged overcharge on the allegedly

   monopolized service, and by that definition also the ‘direct purchaser.’” According to

   Apple, “it is plainly the iOS developers—the

169.       Finally, as Apple told the Supreme Court, “the first party that directly pays an

   overcharge”—here, the developers, per its own admissions—“has a complete and

   undiluted cause of action for the entire overcharge.” According to Apple, Supreme Court

   precedent mandates that “‘the overcharged direct purchaser, and not others in the chain of
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 52 of 84




   manufacture or distribution, is the party” injured in his business or property” within the

   meaning of the [Clayton Act].’”1Apple stated: the Supreme Court’s prior “decision in

   Hanover Shoe, Inc. v. United Shoe Machinery Corp., 392 U.S. 481 (1968), gives

   developers a claim for 100% of any overcharge.” Per Apple, “Hanover Shoe

   ‘concentrate[s] the full recovery for the overcharge’ in the direct purchaser’s hands.”

170.       There is simply no doubt in Apple’s view that developers, as opposed to app and

   in- app product consumers, are the proper plaintiffs in a suit regarding its iOS

   distribution-service fees. As it has told the Supreme Court, “[t]here is no ‘next best

   plaintiff’ theory that permits indirect purchasers [such as consumers of the apps and in-

   app products themselves] to secure their own standing by undermining the claims of

   those who first bear an alleged overcharge”—here, the iOS developers who are the

   plaintiffs and putative class members. (See Cameron v. Apple Complaint, pages 30-32)

171.       But even without these admissions, the Supreme Court of the United States

   recently recognized developer standing in this matter. As the Court put it with respect to a

   monopsony case, which plaintiffs plead in the alternative here:

                   And it could be that some upstream app developers will also sue Apple on
           a monopsony theory. In this instance, the two suits would rely on fundamentally
           different theories of harm and would not assert dueling claims to a “common
           fund,” as that term was used in Illinois Brick. The consumers seek damages based
           on the difference between the price they paid and the competitive price. The app
           developers would seek lost profits that they could have earned in a competitive
           retail market. Illinois Brick does not bar either category of suit.


172.       The antitrust injuries alleged herein, including harm to developers of iOS apps

   and in- app products, competition, and consumers of iOS devices, have occurred in the

   U.S. market for iOS app and in-app-product distribution services (or, alternatively, in the
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 53 of 84




   U.S. market for iOS app and in- app-product retailing services). Apple monopolizes this

   market (or acts as a monopsonist retailer) as alleged herein.



173.       Due to the incompatibility of Apple’s iOS with Google’s Android OS, as well as

   the incompatibility of iOS and Android OS apps as alleged herein, Google Play offers no

   competition to, and is not a substitute for, the App Store. Nor do other distribution service

   providers such as Amazon or Microsoft, which also do not provide distribution for iOS

   apps and in-app products (and which Apple bars from competing in any event). Even

   with a small but significant—or large—price increase, whatever the duration, plaintiff

   developers have nowhere to go to serve the iOS market for which they have developed

   apps and in-app products—they need iOS distribution services. And Apple is the sole,

   monopolistic provider thanks to its deliberate exclusion of competition.



174.       Furthermore, even if a developer were to seek lower prices elsewhere, he or she

   would not find them in Google’s parallel store, Google Play. Thanks to having split the

   world neatly between them, Google’s fees are as high as Apple’s.

175.        Alternatively, even if one were to consider all distribution services for any apps

   or in- app products, whatever the underlying operating system, or whatever the platform

   or devices, Apple’s distribution services for iOS apps and in-app products would form a

   distinct relevant sub- market.

176.       Apple’s restraints on competition directly impact the U.S. market for iOS app and

   in- app-product distribution services as alleged herein.

177.       As it has admitted, Apple is a direct seller of iOS distribution services to iOS

   developers.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 54 of 84




178.       Plaintiffs seek relief on behalf of themselves and other developers. Insofar as the

   App Store may be or is a two-sided platform, lower prices to developers for distribution

   services (or for retail commissions) would not lead to any discernible negative indirect

   network effects under the circumstances described herein. For example, unlike with

   respect to credit-card transaction platforms, lower fees or prices would not mean less

   money available to pay rebates or rewards to consumers. To the contrary, Apple does not

   share its transaction fees with consumers. Here, Apple’s restraints do not help to establish

   or enhance participation inter se developers and consumers, nor do they help to prevent

   erosion in participation. In fact, Apple can point to no considerations that countervail the

   propriety of the monetary and injunctive relief that plaintiffs seek.

179.       Plaintiffs bring this proposed class action pursuant to Fed. R. Civ. P. 23(b)(1), (2),

   and (3).

180.       Plaintiffs bring this action on behalf of themselves and the following nationwide

   class, for monetary and injunctive relief based on violations of the Sherman Act:

                  All U.S. developers of any Apple iOS application that was excluded

           through disallowance and/or ranking suppression on Apple’s iOS App Store.

181.       Not included in this proposed class is the defendant; defendant’s affiliates and

   subsidiaries; defendant’s current or former employees, officers, directors, agents, and

   representatives; and the district judge or magistrate judge to whom this case is assigned,

   as well as those judges’ immediate family members.

182.       Plaintiffs also bring this action on behalf of themselves and the following

   nationwide class, for monetary and injunctive relief based on violations of the Sherman

   Act:
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 55 of 84




           All U.S. developers of any Apple iOS application or in-app product subject to a

   30% sales commission Apple’s iOS App Store.

183.       Not included in this proposed class is the defendant; defendant’s affiliates and

   subsidiaries; defendant’s current or former employees, officers, directors, agents, and

   representatives; and the district judge or magistrate judge to whom this case is assigned,

   as well as those judges’ immediate family members.

184.       Plaintiffs also bring this action on behalf of themselves and the following

   nationwide class, for monetary and injunctive relief based on violations of the Sherman

   Act:

            The millions of U.S.-based iOS developers who were required to sign the DPLA

   and pay Apple $99 simply to access the 60% of the population that uses smartphone

   enhanced services (i.e. iOS) over the national internet backbone.

185.       Not included in this proposed class is the defendant; defendant’s affiliates and

   subsidiaries; defendant’s current or former employees, officers, directors, agents, and

   representatives; and the district judge or magistrate judge to whom this case is assigned,

   as well as those judges’ immediate family members.

186.       Numerosity: The exact number of the members of the proposed classes is

   unknown and is not available to the plaintiffs at this time, but upon information and

   belief, supported by Apple’s past statements, the classes will consist of at least thousands

   of members such that individual joinder in this case is impracticable.

187.       Commonality: Numerous questions of law and fact are common to the claims of

   the plaintiffs and members of the proposed classes. These include, but are not limited to:

   a. Whether there is a U.S. market for iOS app and in-app-product distribution services; b.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 56 of 84




   Alternatively, whether there is a U.S. sub-market for iOS app and in-app-product

   distribution services; c. Whether Apple has unlawfully monopolized, or attempted to

   monopolize, the U.S. market for iOS app and in-app-product distribution services,

   including by way of the contractual terms, policies, practices, mandates, and restraints

   described herein; d. Whether competition in the U.S. market for iOS app and in-app-

   product distribution services has been restrained and harmed by Apple’s monopolization,

   or attempted monopolization, of that market; e. Alternatively, whether Apple has behaved

   as a monopsonist, or attempted monopsonist, retailer of iOS apps and in-app products as

   alleged herein; f. Whether plaintiffs and members of the proposed classes are entitled to

   declaratory or injunctive relief to halt Apple’s unlawful practices, and to their attorney

   fees, costs, and expenses; g. Whether plaintiffs and members of the proposed classes are

   otherwise entitled to any damages, including treble damages, or restitution, and to their

   attorney fees, costs, and expenses related to any recovery of such monetary relief; and h.

   Whether plaintiffs and members of the proposed classes are entitled to any damages,

   including treble damages, or restitution incidental to the declaratory or injunctive relief

   they seek, and to their attorney fees, costs, and expenses related to any recovery of such

   monetary relief.

188.       Typicality: Plaintiffs’ claims are typical of the claims of the members of the

   proposed classes. The factual and legal bases of Apple’s liability are the same and

   resulted in injury to plaintiffs and all of the other members of the proposed classes.

189.       Adequate representation: Plaintiffs will represent and protect the interests of the

   proposed classes both fairly and adequately. They have retained counsel able to engage,

   and experienced with, complex litigation. Plaintiffs have no interests that are antagonistic
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 57 of 84




   to those of the proposed classes, and their interests do not conflict with the interests of the

   proposed class members he seeks to represent.

190.       Prevention of inconsistent or varying adjudications: If prosecution of a myriad

   of individual actions for the conduct complained of were undertaken, there likely would

   be inconsistent or varying results. This would have the effect of establishing incompatible

   standards of conduct for the defendant. Certification of plaintiffs’ proposed classes would

   prevent these undesirable outcomes.

191.        Injunctive and declaratory relief: By way of its conduct described in this

   complaint, Apple has acted on grounds that apply generally to the proposed classes.

   Accordingly, final injunctive relief or corresponding declaratory relief is appropriate

   respecting the classes as a whole.

192.       Predominance and superiority: This proposed class action is appropriate for

   certification. Class proceedings on these facts and this law are superior to all other

   available methods for the fair and efficient adjudication of this controversy, given that

   joinder of all members is impracticable. Even if members of the proposed classes could

   sustain individual litigation, that course would not be preferable to a class action because

   individual litigation would increase the delay and expense to the parties due to the

   complex factual and legal controversies present in this matter. Here, the class action

   device will present far fewer management difficulties, and it will provide the benefit of a

   single adjudication, economies of scale, and comprehensive supervision by this Court.

   Further, uniformity of decisions will be ensured.



                               IV.      CAUSES OF ACTION
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 58 of 84




                                  APPLE CAUSES OF ACTION

                                          COUNT I (SHERMAN ACT 15 U.S.C § 2)
                   VIOLATION OF THE SHERMAN ACT –
                   MONOPOLIZATION/MONOPSONY
193.        Plaintiffs repeat and re-make every allegation above as if set forth herein in full.

194.       Plaintiffs bring this federal law claim on their own behalf and on behalf of each

   member of the proposed nationwide class described above.

195.       The relevant market is the U.S. market for iOS app and IAP distribution services,

   or for retailing iOS apps and in-app products. Alternatively, the relevant market is the

   U.S. retailing of iOS apps and related digital products.

196.        Apple has gained and maintains monopoly power in the relevant market (or sub-

   market) by improper and unlawful means. Alternatively, Apple, as the sole U.S. retailer

   of iOS apps and in-app products, and, upon information and belief, a seller of a

   significant sum of in-app subscriptions, acts as a monopsonist in the relevant market.

   More specifically, Apple has willfully acquired and maintained such power by its

   patently exclusionary conduct, including its refusal to allow iOS device owners to

   purchase iOS apps and IAP other than mandating that iOS developers who sell through

   the App Store cannot sell their apps though any other means that are meant to reach iOS

   device consumers. Each of these instances of exclusionary conduct is also directly

   exclusionary in the U.S. market for iOS app and IAP distribution services, or for retailing

   iOS apps and related digital products, because they ensure that iOS app developers must

   use Apple’s distribution services to reach iOS device owners.

197.       For the reasons stated herein, substantial barriers to entry and expansion exist in

   the relevant market.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 59 of 84




198.         Apple has the power to exclude competition in the relevant market and it has used

   that power, including by way of its unlawful practices in restraint of trade as described

   herein, in order to maintain and expand its monopoly power in that market.

199.         Apple’s conduct as described herein, including its unlawful practices in restraint

   of trade, is exclusionary vis-à-vis its rivals in the U.S. market for iOS app and IAP

   distribution services.

200.         Apple has behaved as alleged herein to maintain and grow its monopoly in the

   U.S. market for iOS app and IAP distribution services, with the effect being that

   competition is foreclosed and that consumer choice is gravely diminished. So is

   innovation. Additionally, Apple has abused its market power by insisting on 30%

   transaction fees, minimum price fixing, and end-in- $.99 pricing as alleged herein.

201.         There is no business necessity or other pro-competitive justification for Apple’s

   conduct. Apple’s conduct has substantial anti-competitive effects, including increased

   prices and costs, reduced innovation and quality, and lowered output and consumer

   choice.

202.         Plaintiffs and the federal law class have been injured, and will continue to be

   injured, in their businesses and property as a result of Apple’s conduct, including by way

   of overpaying for iOS app and IAP distribution services. Additionally, or alternatively,

   plaintiffs and the federal law class have suffered damages because they were underpaid

   by monopsonist Apple as a result of the Apple’s conduct as described herein.

203.         Plaintiffs and the federal law class also are entitled to injunctive relief to prevent

   Apple from persisting in its unlawful, inequitable, and unjustified behavior to their

   detriment, with such an injunction barring this anti-competitive conduct.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 60 of 84




                                          COUNT II (SHERMAN ACT 15 U.S.C § 2)
                   VIOLATION OF THE SHERMAN ACT – ATTEMPTED
                   MONOPOLIZATION/MONOPSONY
204.        Plaintiffs repeat and re-make every allegation above as if set forth herein in full.

205.       Plaintiffs bring this claim on their own behalf and on behalf of each member of

   the proposed nationwide federal law class described above.

206.       The relevant market is the domestic market for iOS app and IAP distribution

   services. Alternatively, the relevant market is the domestic market for retailing iOS app

   and related IAP digital products.

207.       Apple has attempted to monopolize the U.S. market for iOS app and IAP

   distribution services. Alternatively, Apple, as the sole U.S. retailer of iOS apps and IAP

   digital products, and, upon information and belief, a seller of a significant sum of in-app

   subscriptions, is an attempted monopsonist in the relevant market. More specifically,

   Apple has willfully acquired and maintained market power by its patently exclusionary

   conduct, including its refusal to allow iOS device owners to purchase iOS apps and IAP

   other than through its own App Store; refusing to allow other app stores to be allowed on

   its devices; and mandating that iOS developers who sell through the App Store cannot

   sell their apps though any other means that are meant to reach iOS device consumers.

   Each of these instances of exclusionary conduct is also directly exclusionary in the U.S.

   market for iOS app and in-app-product distribution services, or for retailing iOS apps, in-

   app products, or subscriptions, because they ensure that iOS app developers must use

   Apple’s distribution services to reach iOS device owners.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 61 of 84




208.       Apple’s anti-competitive conduct has created a dangerous probability that it will

   achieve monopoly power in the U.S. market (or sub-market) for iOS app and in-app-

   product distribution services.

209.       Apple has a specific intent to achieve monopoly power in the U.S. market for iOS

   app and in-app-product distribution services, or for retailing iOS apps, in-app products, or

   subscriptions. Now, and if its unlawful restraints are not checked, Apple has a dangerous

   probably of success.

210.       Apple has the power to exclude competition in the U.S. market for iOS app and

   IAP distribution services, or for retailing iOS apps & IAP and it has used that power,

   including by way of its unlawful practices in restraint of trade as described herein, in an

   attempt to monopolize that relevant market.

211.       Apple’s conduct as described herein, including its unlawful practices in restraint

   of trade, is exclusionary vis-à-vis its rivals in the U.S. market for iOS app and in-app-

   product distribution services, or for retailing iOS apps, in-app products, or subscriptions.

212.       Apple has behaved as alleged herein in an attempt to obtain a monopoly in the

   U.S. market for iOS app and IAP distribution services, or for retailing iOS apps and IAP

   with the effect being that competition is foreclosed and that consumer choice is gravely

   diminished. So is innovation. Additionally, Apple has abused its market power by

   charging supra-competitive 30% distribution fees and mandating minimum prices and

   end-in-$.99 pricing for iOS apps and in-app products.

213.       There is no business necessity or other pro-competitive justification for Apple’s

   conduct. Apple’s conduct has substantial anti-competitive effects, including increased
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 62 of 84




   prices and costs, reduced innovation and quality, and lowered output and consumer

   choice.

214.         Plaintiffs and the federal law class have been injured, and will continue to be

   injured, in their businesses and property as a result of Apple’s conduct, including by way

   of overpaying for iOS app and IAP distribution services. Additionally, or alternatively,

   plaintiffs and the federal law class have suffered damages because they were underpaid

   by Apple as a result of the Apple’s conduct as described herein.

215.         Plaintiffs and the federal law class also are entitled to injunctive relief to prevent

   Apple from persisting in its unlawful, inequitable, and unjustified behavior to their

   detriment, with such an injunction barring this anti-competitive conduct.



                                             COUNT III (Sherman Act § 2)
                    DENIAL OF ESSENTIAL FACILITY IN THE iOS APP
                    DISTRIBUTION MARKET
216.         Plaintiffs restate, re-allege, and incorporate by reference each of the allegations

   set forth in the rest of this Complaint as if fully set forth herein.

217.         Apple’s conduct violates Section 2 of the Sherman Act, which prohibits the

   “monopoliz[ation of] any part of the trade or commerce among the several States, or with

   foreign nations”. 15 U.S.C. § 2.

218.         The market for smartphone enhanced commerce and information access devices

   transacted via the national internet backbone is a valid antitrust market. Similarly, the

   institutional(aka OEM or wholesale) market for apps for these devices is a valid antitrust

   market.

219.         Apple holds monopoly power in the market for smartphone enhanced commerce

   and information flow (devices and apps) transacted via the national internet backbone.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 63 of 84




220.       Apple unlawfully maintains its monopoly power in the market for smartphone

   enhanced commerce and information flow transacted via the national internet backbone

   through its unlawful denial to Plaintiffs and other app developers of an essential

   facility—access to iOS userbase—which prevents them from competing in the market.

221.       Apple controls access to iOS userbase, which is essential to effective competition

   in the market for smartphone enhanced commerce and information flow transacted via

   the national internet backbone.

222.       App developers are unable to reasonably or practically duplicate the entire

   infrastructure for smartphone enhanced commerce and information flow transacted via

   the national internet backbone. Duplicating the entire internet and iPhone userbase is

   about as feasible as recreating a mountain — in reference to binding caselaw from Aspen

   Skiing Co (472 U.S. 585, 1985). On the other hand, it is technically feasible, and in fact

   practical, for Apple to provide iOS userbase access to Plaintiffs and other app developers,

   and it would not interfere with or significantly inhibit Apple’s ability to conduct its

   business.

223.       In fact, providing this access is exactly what Apple has done for forty years with

   the Mac product ecosystem, a popular and successful computing platform.

224.       Apple’s denial of access to iOS has no legitimate business purpose, and serves

   only to assist Apple in maintaining its unlawful monopoly position in the increasingly

   critically important market.

225.       Through its denial of its essential facility, Apple maintains its monopoly power in

   the market.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 64 of 84




226.       Apple’s conduct affects a substantial volume of interstate as well as foreign

   commerce.

227.       Apple’s conduct has substantial anti-competitive effects, including increased

   prices and costs, reduced innovation and quality of service, and lowered output.

228.       As an app developer, Plaintiffs have been harmed by Apple’s anti-competitive

   conduct in a manner that the antitrust laws were intended to prevent. Plaintiffs have

   suffered and continue to suffer harm and irreparable injury, and such harm and injury will

   not abate until an injunction ending Apple’s anti-competitive conduct issues.

229.       To prevent these ongoing harms, the Court should enjoin the anti- competitive

   conduct complained of herein.

230.       All definitions, assertions, and examples in the Marketplace Diagrams in the

   Claim Theory Overview sections are asserted herein, as part of this cause of action.



                                          COUNT IV
                                  SHERMAN ACT §2
231.        Plaintiffs repeat and re-alleges each and every allegation contained herein as if

   fully stated under this count.

232.       Apple’s conduct violates Section 2 of the Sherman Act, which prohibits

   “monopolization of any part of the trade of commerce among the several States, or with

   foreign nations. 15 U.S.C. Section 2

233.       The iOS App Store is an antitrust market as defined above. Alternatively, the

   market exists for smartphone enhanced commerce and information transactions over the

   national internet backbone. The device and app marketplaces are valid antitrust markets.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 65 of 84




   All definitions, assertions, and examples in the Marketplace Diagrams in the Claim

   Theory Overview sections are asserted herein, as part of this cause of action.

234.       Apple unlawfully maintains its monopoly power in the iOS App Store through its

   unlawful denial of access to Plaintiff’s apps through disallowment and/or app ranking

   suppression.

235.       Apple serves as a de facto access point to the national internet backbone, for

   consumers who have invested trillions in their smartphone hardware and tax money for

   the backbone itself. Apple’s anticompetitive behavior prevents consumers and taxpayers

   from fully realizing the benefit of their investment though apps such as Coronavirus

   Reporter, CALID, and Class members. Apple likewise prevents developers from

   transacting with and innovating for these consumers.

236.       Apple could exert quality control and law enforcement via its App Store, without

   infringing upon the rights of the consumers, and the developers who serve them.

   Specifically, Apple could create an independent App Court that ensures due process. This

   App Court would act independently from Apple Management, and would reduce or

   eliminate the problem of favoritism and cronyism. Developers who have a grievance

   about excessive commissions harming their product, unreasonable disallowment, and

   other issues could be afforded due process through said App Court.

237.       Indeed, such an App Court would be a vast improvement over the corrupt, self-

   serving App Store management currently in place. Per US House findings, even Apple

   staff finds Apple’s behavior breathtaking. Such is the experience of Plaintiffs, in their

   dealings with junior app store workers.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 66 of 84




238.       Plaintiffs proposed said App Court to Apple in April 2021, and have not heard

   back, despite Apple promising to engage in settlement discussion. As explained to Apple,

   an Independent App Court would be the first law enforcement venue solely dedicated to

   application computer code.

239.       Disallowing Dr Roberts from offering his COVID bioinformatics app is not a

   reasonable right Apple has, particularly when it is part of a wider ban on all startup

   efforts to help with the pandemic. In fact, time has shown that Apple’s contact tracing

   app was largely untenable in major markets including the United States, and the country

   and taxpayers would have benefitted from increased competition from COVID startups,

   such as Coronavirus Reporter. There existed no valid reason for Apple to block the

   Plaintiff’s medical application, let alone every COVID startup in existence, from

   contributing to the public good. Apple did not have “superior expertise” or ability to

   “foretell COVID,” even though it acted like it did.

240.       Not only does Apple prevent developers from selling their product to Apple

   customers through the App Store they control; Apple produced their own contact-tracing

   software shortly after Coronavirus Reporter was disallowed. The control of a marketplace

   where Apple even competes calls for increased scrutiny to this alleged violation of the

   Sherman Act.

241.       The public and the taxpayer would have benefitted from the vast expertise of

   Roberts and his team, and other startups, to assist in the early days of COVID.

242.       As the creator of an app with temporarily limited commercial liability,

   Coronavirus Reporter was harmed by Apple’s anti-competitive conduct in a manner that

   the antitrust laws, and moreover recent COVID laws, were intended to prevent.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 67 of 84




243.       Apple disallows applications in an arbitrary and capricious manner to benefit their

   own monopoly and their business and contract partners.

                              COUNT V
         SHERMAN ACT §1 – UNREASONABLE RESTRAINT OF TRADE


244.        Plaintiffs repeat and re-allege each and every allegation contained herein as if

   fully stated under this count.

245.       Apple’s conduct violates Section 1 of the Sherman Act, which prohibits “[e]very

   contract, combination in the form of trust or otherwise, or conspiracy, in restraint of trade

   of commerce among the several States, or with foreign nations.” 15 U.S.C. § 1.

246.       The Apple Developer Program License Agreement and the end-user terms of the

   App Store unreasonably restrain competition between Apple users of different states

   attempting to access the national and global internet backbone using device

   enhancements they purchased.

247.       Apple has induced and coerced developers, like Plaintiff CALID and some class

   members, to sign and be bound by their illicit contracts. The contracts waive Plaintiffs’

   rights to access the iOS userbase, and allow Apple “carte blanche” to restrict or deny any

   app, favor competitors and cronies, and/or overcharge, or underpay.

248.       Apple’s conduct and unlawful contractual restraints affects a substantial

   proportion of the population, approximately 60-80% of internet commerce and

   information exchange.

249.       Apple’s conduct and ability to arbitrarily determine which applications will or

   will not be published has substantial anti-competitive effects, including here an outright

   bar disallowing any startup from assisting in the pandemic relief, via an app. Plaintiffs
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 68 of 84




   Coronavirus Reporter, and CALID, and many other startups wishing to help were barred

   from doing so, because of Apple’s illegal contracts.

250.       Competition amongst COVID startups may have indeed saved lives, better

   informed the public, and other intangible benefits.

251.       Under Apple’s forced contracts and policies, countless independent developers

   have been injured in the same way described in this lawsuit. Apple frequently uses

   pretextual excuses like protecting consumers privacy rights, or from financial risk, to

   cherry pick the apps they want, that benefit themselves, their partners and cronies.

252.       Indeed, these pretextual excuses were applied to nearly every other App

   Plaintiff’s are aware of, and are well documented in the US House report (Exhibit B) and

   academic papers (See, Screen Time App controversy).

253.       The restraint in this case is even more severe than it may appear on face value

   because COVID applications like Plaintiffs’ are only useful if they achieve a critical mass

   of users. Apple’s disallowment prevented Coronavirus Reporter and CALID from

   realizing their full potential on any available marketplace. In other words, non-Apple

   users would have a product with reduced functionality, because of Apple’s antitrust

   behavior.

254.       Apple’s conduct caused Plaintiffs substantial injury. Non-startup, permitted apps

   from recognized institutions that were allowed in March 2020 obtained millions of

   downloads and a top rank in the App Store, demonstrating the strong demand for COVID

   information applications at that time.

255.       Evidence is irrefutable that Apple green-lit an almost identical app, Zoe created

   by Guy St Thomas and Kings College London, and other later contributors.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 69 of 84




256.       Ironically, after all of these years Apple forgot it was founded in the garage of two

   independent inventors, the legendary American entrepreneurs Steve Jobs and Steve

   Wozniak. There was no good reason, decades later, for Apple to mandate that only

   institutions may contribute to the COVID emergency. This defies Apple’s own means of

   creation. The public can choose which app authors they wish to use, and it is more than

   evident that Plaintiff’s app, at a time when no other COVID apps existed, would have

   been downloaded by millions. Here, Apple unlawfully put its thumb on the scales,

   destroying any chance that Coronavirus Reporter and its fellow startups such as CALID

   had to participate in the open and free information exchange afforded by the internet. To

   prevent these harms, this Honorable Court shall permanently enjoin the aforementioned

   anti-competitive behavior.

                                          COUNT VI (Sherman Act § 1)
                   TYING THE APP STORE IN THE iOS DISTRIBUTION MARKET
                   TO THE IAP PROCESSING MARKET
257.        Plaintiffs restates, re-alleges, and incorporates by reference each of the

   allegations set forth in the rest of this Complaint as if fully set forth herein.

258.        Apple’s conduct violates Section 1 of the Sherman Act, which prohibits “[e]very

   contract, combination in the form of trust or otherwise, or conspiracy, in restraint of trade

   or commerce among the several States, or with foreign nations”.15 U.S.C. § 1.

259.       Through its Developer Agreement with app developers and its App Store Review

   Guidelines, Apple has unlawfully tied its in-app payment processor, In- App Purchase, to

   the use of its App Store.

260.       Apple has sufficient economic power in the tying market, the iOS App

   Distribution Market, because the App Store is the sole means by which apps may be

   distributed to consumers in that market.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 70 of 84




261.       Apple is able to unlawfully condition access to the App Store on the developer’s

   use of a second product—In-App Purchase—for in-app sales of in-app content. Through

   its Developer Agreement and unlawful policies, Apple expressly conditions the use of its

   App Store on the use of its In-App Purchase to the exclusion of alternative solutions in a

   per se unlawful tying arrangement.

262.       The tying product, Apple’s App Store, is distinct from the tied product, Apple’s

   In-App Purchase, because app developers such as Plaintiff CALID have alternative in-

   app payment processing options and would prefer to choose among them independently

   of how the developer’s iOS apps are distributed. In other words, app developers are

   coerced into using In-App Purchase by virtue of wanting to use the App Store. Apple’s

   unlawful tying arrangement thus ties two separate products that are in separate markets

   and coerces Plaintiffs and other developers to rely on both of Apple’s products.

263.       Apple’s conduct has foreclosed, and continues to foreclose, competition in the

   iOS In-App Payment Processing Market affecting a substantial volume of commerce in

   these markets.

264.       Apple has thus engaged in a per se illegal tying arrangement and the Court does

   not need to engage in a detailed assessment of the anti-competitive effects of Apple’s

   conduct or its purported justifications.

265.       In the alternative only, even if Apple’s conduct does not constitute a per se illegal

   tie, an analysis of Apple’s tying arrangement would demonstrate that this arrangement

   violates the rule of reason and is illegal by coercing developers into using its In-App

   Purchase product.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 71 of 84




266.         Apple’s conduct harms those Plaintiffs and class members which, as a direct

   result of Apple’s anti- competitive conduct, are paying supra-competitive fees on in-app

   purchases processed through Apple’s payment processor and have forgone revenue they

   would be able to generate if their own in-app payment processor were not unreasonably

   restricted from the market.

267.         As an app developer that consumes in-app payment processing services and as the

   developer of a competing in-app payment processing tool, certain Plaintiffs and class

   members have a direct financial interest in the iOS In-App Payment Processing Market

   and, in the alternative, in the iOS Games Payment Processing Market, and has been

   foreclosed from competing with Apple directly as a result of Apple’s unlawful tie.

268.         Plaintiff CALID has been harmed by Apple’s anti-competitive conduct in a

   manner that the antitrust laws were intended to prevent. Plaintiff has suffered and

   continues to suffer harm and irreparable injury, and such harm and injury will not abate

   until an injunction ending Apple’s anti-competitive conduct issues. To prevent these

   ongoing harms, the Court should enjoin the anti- competitive conduct complained of

   herein.

269.         Apple has attempted to monopolize the U.S. market for iOS app and IAP

   distribution services. Alternatively, Apple, as the sole U.S. retailer of iOS apps and IAP

   digital products, and, upon information and belief, a seller of a significant sum of in-app

   subscriptions, is an attempted monopsonist in the relevant market. More specifically,

   Apple has willfully acquired and maintained market power by its patently exclusionary

   conduct, including its refusal to allow iOS device owners to purchase iOS apps and IAP

   other than through its own App Store; refusing to allow other app stores to be allowed on
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 72 of 84




   its devices; and mandating that iOS developers who sell through the App Store cannot

   sell their apps though any other means that are meant to reach iOS device consumers.

   Each of these instances of exclusionary conduct is also directly exclusionary in the U.S.

   market for iOS app and in-app-product distribution services, or for retailing iOS apps, in-

   app products, or subscriptions, because they ensure that iOS app developers must use

   Apple’s distribution services to reach iOS device owners.

270.       Apple’s anti-competitive conduct has created a dangerous probability that it will

   achieve monopoly power in the U.S. market (or sub-market) for iOS app and in-app-

   product distribution services.

271.       Apple has a specific intent to achieve monopoly power in the U.S. market for iOS

   app and in-app-product distribution services, or for retailing iOS apps, in-app products, or

   subscriptions. Now, and if its unlawful restraints are not checked, Apple has a dangerous

   probably of success.

272.       Apple has the power to exclude competition in the U.S. market for iOS app and

   IAP distribution services, or for retailing iOS apps & IAP and it has used that power,

   including by way of its unlawful practices in restraint of trade as described herein, in an

   attempt to monopolize that relevant market.

273.       Apple’s conduct as described herein, including its unlawful practices in restraint

   of trade, is exclusionary vis-à-vis its rivals in the U.S. market for iOS app and in-app-

   product distribution services, or for retailing iOS apps, in-app products, or subscriptions.

274.       Apple has behaved as alleged herein in an attempt to obtain a monopoly in the

   U.S. market for iOS app and IAP distribution services, or for retailing iOS apps and IAP

   with the effect being that competition is foreclosed and that consumer choice is gravely
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 73 of 84




   diminished. So is innovation. Additionally, Apple has abused its market power by

   charging supra-competitive 30% distribution fees and mandating minimum prices and

   end-in-$.99 pricing for iOS apps and in-app products.

275.         There is no business necessity or other pro-competitive justification for Apple’s

   conduct. Apple’s conduct has substantial anti-competitive effects, including increased

   prices and costs, reduced innovation and quality, and lowered output and consumer

   choice.

276.         Plaintiffs and the federal law class have been injured, and will continue to be

   injured, in their businesses and property as a result of Apple’s conduct, including by way

   of overpaying for iOS app and IAP distribution services. Additionally, or alternatively,

   plaintiffs and the federal law class have suffered damages because they were underpaid

   by Apple as a result of the Apple’s conduct as described herein.

277.         Plaintiffs and the federal law class also are entitled to injunctive relief to prevent

   Apple from persisting in its unlawful, inequitable, and unjustified behavior to their

   detriment, with such an injunction barring this anti-competitive conduct.

                                        COUNT VII
                                    BREACH OF CONTRACT


278.         Plaintiffs and Defendant had entered into a contract, notwithstanding the

   aforementioned components whereby Plaintiff had no real choice as to the terms. As such

   this may be viewed as an alternate claim, in the event antitrust law does not dissolve the

   DPLA.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 74 of 84




279.       Apple’s Developer Agreement as amended in March 2020 promised that entities

   with “deeply rooted medical credentials” were permitted to publish COVID apps on the

   App Store.

280.       Dr Robert Roberts has deep rooted medical credentials.

281.        A startup is an entity, with credentials equal to or greater than the sum of the

   intrinsic and inherent credentials possessed by its founders. In other words, common

   sense dictates that a startup headed by Dr Roberts has at least the credentials of Dr

   Roberts. A startup logically cannot have less, or fewer, credentials that its founders.

   Hence, Plaintiff is a startup, or corporate entity with deep credentials.

282.       Plaintiff’s small team of experts was comparable to the development team sizes of

   other apps Apple permitted to be published on the App Store. Namely, the Zoe Guys’ St

   Thomas app was developed primarily by two scientists, and though they possessed

   impressive medical credentials, they did not have some sort of credential that would

   legally amount to “more deeply rooted” or unilaterally above and beyond Dr Roberts’

   expertise.

283.       Dr Robert Roberts extensive CV (Exhibit A) was provided to Apple leadership,

   documenting his deep rooted medical credentials.

284.       Apple willfully ignored Dr Roberts’ credentials, and therefore, the deep-rooted

   credentials of his organization, Coronavirus Reporter.

285.       As Chief Medical Officer of Coronavirus Reporter, Dr Roberts had absolute

   authority over the medical app.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 75 of 84




286.       As Dr Roberts noted in his CNBC interview, many inventions throughout the

   history of the industrial revolution and modern medicine were produced by “startup”

   entities comprised of one or two scientist inventors.

287.       As such, historic and reasonable interpretation of “deep rooted” credentials

   sufficient for important inventions supports a contract interpretation favorable to

   Plaintiff.

288.       Apple breached their own Developer Agreement when they refused to allow an

   entity with deep-rooted medical expertise to publish on the App Store.

289.       To the extent Apple claims the DPLA grants them unlimited discretion with

   respect to App approvals, Plaintiff submits that discretion implies a reasonable standard

   which was breached. Apple’s motivation was to further their own app and apps of

   partners; this was not an instance of discretion pertaining to Dr Roberts, which would be

   baseless. As such, a jury may find that reasonable discretion was not employed, but

   rather, anti-competitive behavior was employed. Furthermore, discretion is narrowed by

   various state and federal laws, and must not be discriminatory in nature and cannot

   violate any protection laws or commerce laws. Moreover, discretion implies adherence to

   the covenant of good faith. In light of this context, whether Apple exercised discretion, as

   opposed to unfair competitive advantage or discriminatory bias, in rejecting a life-saving

   app designed by a renowned cardiologist is a matter for the jury to decide after full and

   complete discovery on the matter.

290.       Discovery is anticipated to reveal that Apple did in fact violate federal

   competition laws, California competition laws, and/or anti-discrimination statutes when

   they banned Coronavirus Reporter. Moreover, an element of fraud may exist to the extent
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 76 of 84




   Apple employed cronyism and surreptitiously favored its own partners and/or friends.

   Wire fraud statutory law may be applicable, and Plaintiff reserves the right to amend

   below RICO claims after discovery addressing Apple’s developer communications

   portal’s role in the interstate transmission of false, fraudulent, and or misleading reasons

   for banning Dr Roberts and his team.

291.       Indeed, Plaintiffs’ knowledge of false and pretextual App Review decisions to

   nearly a dozen apps almost certainly do constitute wire fraud under the relevant RICO

   predicate act enumerations.

292.       In sum, Apple’s refusal to publish Plaintiff’s app caused the damages described in

   this Complaint. Refusal to publish Coronavirus Reported entailed blocking access to the

   national internet backbone during a national emergency; this exceeds any reasonable

   ‘discretion’ afforded by the DPLA.

293.       A baseline estimate of contractual losses assumes Coronavirus Reporter lost five

   million users/day over a two-year period, because rival apps with nearly identical

   functionality that launched months later easily obtained this milestone. Based on

   comparable analysis of COVID media channel revenue rates, spanning from television

   news networks providing COVID news (e.g. CNN) to websites to apps, Coronavirus

   Reporter would have generated no less than two hundred million dollars of income, had it

   been properly allowed. To the extent Plaintiff would have re-invested that income into

   COVID research, further accumulative losses to society are hereby alleged.

                              COUNT VIII
           BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 77 of 84




294.       In choosing to develop an app for Defendant’s Apple iPhone, Plaintiffs relied on

   the covenant of good faith and fair dealing.

295.       In every contract there is an implied covenant of good faith and fair dealing by

   each party not to do anything which will deprive the other parties of the benefits of the

   contract, and a breach of this covenant by failure to deal fairly or in good faith gives rise

   to an action for damages.

296.       Indeed, Apple breached the covenant when, during an international pandemic

   emergency, they disregarded established medical hierarchies and blocked Dr Roberts

   from using the internet to help people disseminate epidemiological data.

297.       Apple had been on a mission, for at least two years, to make their own mark in

   medicine, with Mr. Cook declaring Apple’s greatest contribution to mankind would be in

   medicine.

298.       There was no good faith when Apple focused on their own success, and blocked a

   research professor such as Dr Roberts, who had saved countless lives through his lifelong

   dedication to the field of cardiology.

299.       Apple’s breach of the covenant caused substantial damages to Plaintiff and well

   beyond, blocking Dr Roberts app from playing its role in the reduction of its potential to

   help reduce SARS-CoV-2 coronavirus transmission.

                               COUNT IX
            RACKETEER INFLUENCED CORRUPT ORGANIZATION ACT


300.       18 U.S.C. § 1962(c), known as RICO, has a broad reach to prosecute civil and

   criminal activity that occurs within otherwise law-abiding businesses, and which may fall

   through the cracks of other statutory law such as Sherman.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 78 of 84




301.       Plaintiffs hereby reallege and reincorporate all prior portions of this Complaint,

   and assert that these known facts constitute a RICO cause of action.

302.       Defendants formed an enterprise meant to continually grow the largest

   corporation in history, and to improperly squash any developers who questioned their

   DPLA and other business tactics (e.g. Plaintiffs). An enterprise also was formed to

   discredit these developers, and in particular, the Plaintiffs.

303.       These Defendants include individuals within Apple, Apple itself, and/or its

   counsel.

304.       Defendants engaged in an open-ended pattern of predicate acts over a multi-year

   timespan.

305.       Most notably, Defendants routinely engaged in wire fraud and mail fraud by

   assigning junior App Review members to issue false, pretextual reasons for rejection to

   small developers. Apple knew of this practice and instructed said junior app reviewers to

   issue these statements by telephone calls whenever possible. Indeed, Apple’s written

   reasons for rejection often differed substantially from reasons given by telephone.

306.       Apple suppressed competitors in App Store rankings, hiding quality apps from the

   general public when it suited Apple’s own interests. This represents an additional pattern

   of wire fraud predicate act.

307.       Defendants engaged in witness retaliation, as noted in a US Congressional

   Subcommittee report (see Statement of Facts).

308.       In this particular case, Apple and their counsel filed false pleadings in court and

   relayed to media outlets accusing Plaintiff – a group of physicians trying to save lives –

   of ‘disregard for the law’ in stating an anti-trust complaint that was largely similar or
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 79 of 84




   identical to anti-trust complaints filed by the FTC, the congressional subcommittee, and

   President Biden’s executive order.

309.       Apple sought to name witnesses that had been under FRCP witness protection

   anonymity, and Apple did not follow customary, appropriate routes to challenge

   anonymity. This was done with intent to harass a witness, a member of the proposed

   Class, discredit him or her, and or place him or her in fear.

310.       Apple has profited greatly by said racketeering – their own apps have ousted

   competition from the App Store marketplace, and they block every developer in the

   world from reasonably free access to the national smartphone enhanced internet

   backbone, while assessing tens of billions in subscriptions to these aspiring developers.

311.       Plaintiffs request civil damages, injunction, and/or joinder of the United States to

   prosecute RICO violations by Apple.

                                  FTC CAUSE OF ACTION

                     Violation of 5 U.S.C. § 706(1), agency action
                     unlawfully withheld or unreasonably delayed


312.       Plaintiff realleges and incorporates all prior portions of this Complaint.

313.       The Administrative Procedure Act (“APA”) dictates that agencies must conclude

   matters presented to them “within a reasonable time.” 5 U.S.C. § 555(b). APA Section

   706(1) authorizes reviewing courts to “compel agency action unlawfully withheld or

   unreasonably delayed.” 5 U.S.C. § 706(1).

314.       On March 12, over four months ago, counsel for Plaintiff submitted an antitrust

   complaint to the FTC, requesting assistance in prosecuting civil and criminal violations

   of the Sherman Act. The request was sent to FTC email hotline, antitrust@ftc.gov.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 80 of 84




315.       Plaintiff Coronavirus Reporter has no response on file as of today.

316.       FTC’s failure to issue a decision on Coronavirus Reporter’s complaint

   constitutes agency action unlawfully withheld, violative of Section 706(1) of the APA.

   Alternatively, FTC’s failure to act on Plaintiff’s complaint constitutes agency action

   unreasonably delayed, again violative of Section 706(1) of the APA.

317.       In the meantime, Apple has subjected Plaintiff to now eight months of abusive

   litigation tactics, including filing false federal court pleadings (picked up by the press)

   that Plaintiff’s claims verge on “disregard for the law.”

318.       Similarly, Apple has falsely accused Plaintiff of failing to state any marketplace.

   Plaintiff has diligently defined (see intro “Claim Theory” diagrams) a comprehensive

   institutional app marketplace. Furthermore, Plaintiff incorporated two additional antitrust

   marketplace theories that have already completed bench trial in this Court.

319.       Upon review of the claim theory and associated diagrams authored by Plaintiffs,

   and incorporation of other well-established adjudicated claim theories, it is evident

   Plaintiffs have exercised reasonable, substantial diligence in pleading three marketplace

   theories against Apple. Two of these theories are well cited in academic journals, and

   indeed, have been used by the FTC in recent litigation. The third theory is original to this

   counsel and Plaintiffs, in that it comprehensively includes free apps. Plaintiffs’ diligence

   will continue during discovery of expert witnesses and Apple’s own documents.

320.       Over eight months of due diligence in researching emerging Big Tech Sherman

   compliance is simply the exact opposite of “disregard for the law.” Hence, FTC can

   conclude Apple engages in harassing tactics to subvert Sherman litigation.
       Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 81 of 84




321.       In short, Apple hires henchmen such as Gibson Dunn to wear down small startups

   in court who state otherwise valid claims, and Plaintiffs hereby submit this litigation

   docket itself to FTC to investigate for improper criminal violation of Sherman by Apple

   and its counsel.

322.       Dr Roberts, who has saved countless lives, does not deserve such litigation abuse,

   which could be easily avoided if the FTC improved guidelines and procedures for

   antitrust complaints against “Big Tech,” and/or certified “right-to-sue” antitrust letters as

   other government agencies do.

323.       When a physician who has saved countless lives, and attempted to save more lives

   with a COVID app, is accused by Apple of “disregard for the law,” the FTC may

   investigate and sanction Apple under civil and or criminal code. The FTC mission in fact

   requires the FTC to investigate such egregious actions by a monopoly. This is particularly

   the case when the subject of the actions is a physician who merely questioned Apple’s

   practice, under Sherman, of blocking startups from assisting with COVID.

324.       Plaintiffs seek FTC charge Apple with appropriate civil and criminal penalties, in

   light of the nearly two years of mistreatment Apple subjected to Plaintiff, who simply

   created a free COVID app to help the public.

325.       It is recognized that last week President Biden issued new executive orders

   directing the FTC to better address anti-competitive behavior against small tech

   companies, such as Plaintiff. “Executive Order on Promoting Competition in the

   American Economy” specifically tasks FTC to use its statutory rulemaking authority to

   address “unfair competition in Major internet marketplaces.”
          Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 82 of 84




   326.       It is therefore hoped that any claims against FTC for non-action, arbitrary, and/or

       capricious enforcement of Sherman will be rendered moot by compliance with the

       President’s directive.

   327.       FTC assistance and guidelines for enforcing these relatively new app marketplace

       claims would substantially reduce burden on small startups, and moreover, the Court.

   328.       It is therefore requested the agency investigate Dr. Roberts’ complaint, take

       decisive action, and notify the Court of said action.




WHEREFORE, The Plaintiffs and class members respectfully request that this Honorable Court:

   A. Certify this case as a developer class action lawsuit and that it certify the proposed

       federal law classes on a nationwide basis for all free app developers who were disallowed

       or subject to ranking suppression, or subject to excessive 30% rents and $99 annual

       subscription fees. Allow prompt, expedited discovery to identify those developers who

       are members of the proposed class.

   B. Order damages compensating the Class Members, estimated to approach $200 billion

       USD. By creating an inefficient bottleneck on the entire institutional app market, Apple

       put itself in a precarious liability position for lost value creation. Take for example the

       Robinhood IPO, set for a $35 billion valuation. If Apple blocked just one single app from

       succeeding at this level, it would be liable for $105 billion (3x punitive). Our estimate

       assumes 500 apps were suppressed or rejected, with an average valuation of $60million.

       This equates to $90 billion in damages, and approaches $200 billion when ten years of

       $99 developer fees are factored in. Put differently, $200 billion is approximately ten
        Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 83 of 84




       percent of Apple’s market valuation, and it seems reasonable that the aforementioned

       anti-competitive behaviors would have accrued at least a 10% accrual to Apple’s worth.

       Apple’s restrictive practices create negative externalities: thousands of rejected apps

       represent substantial lost value creation to the US economy. Included in this estimate are

       treble damages to Lead Plaintiffs in excess of $1.2 billion USD.

   C. Issue a permanent injunction under the Sherman Act restraining Defendant’s App Store

       from denying reasonable applications from access to the smartphone enhanced internet

       backbone; from denying developers due process in the app review process in the form of

       a newly created, independent, and impartial App Court, from implementing excessive

       rents through payment processing, and any and all other anticompetitive behavior the jury

       finds.

   D. Grant any further relief as may be fair and just.



                                      Respectfully submitted, this 20th day of July 2021.

                                             /s/ Keith Mathews
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                                CERTIFICATE OF SERVICE

       I, Keith Mathews, do declare as follows:

I certify that a copy of the foregoing was delivered electronically to counsel for the Defendants
with counsel, and emailed to those without known counsel.
 Case 3:21-cv-05567-EMC Document 1 Filed 07/20/21 Page 84 of 84




Executed on this 20th day of July 2021.



                                    /s/ Keith Mathews
                                    Keith Mathews
                                    Attorney for Plaintiffs
